                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

NETCHOICE, LLC d/b/a NetChoice,           )
a 501(c)(6) District of Columbia organization,
                                          )
                                          )
                     and                  )
                                          )
COMPUTER & COMMUNICATIONS                 )
INDUSTRY ASSOCIATION d/b/a CCIA, a        )
501(c)(6) non-stock Virginia Corporation, )      Civil Action No. 1:21-cv-00840-RP
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )
                                          )
KEN PAXTON, in his official capacity as   )
Attorney General of Texas                 )
                                          )
       Defendant.                         )
_________________________________________ )



                             Exhibit C –
                             YouTube’s
                             Declaration
                            IN‌‌THE‌‌UNITED‌‌STATES‌‌DISTRICT‌‌COURT‌ ‌
                            FOR‌‌THE‌‌WESTERN‌‌DISTRICT‌‌OF‌‌TEXAS‌ ‌
                                        AUSTIN‌‌DIVISION‌ ‌
                                                      ‌
 NETCHOICE,‌‌LLC,‌‌d/b/a‌‌NETCHOICE,‌‌a‌‌                              ‌
 501(c)(6)‌‌District‌‌of‌‌Columbia‌‌organization;‌‌                    ‌
 and‌‌COMPUTER‌‌&‌‌COMMUNICATIONS‌‌                                    ‌
 INDUSTRY‌‌ASSOCIATION‌‌d/b/a‌‌CCIA,‌‌a‌‌                              ‌
 501(c)(6)‌‌non-stock‌‌Virginia‌‌corporation,‌ ‌                       ‌
         ‌                                                            Civ.‌‌Action‌‌No.‌‌21-cv-840‌ ‌
        Plaintiffs‌,‌ ‌                                                ‌
         ‌                                                             ‌
        v.‌ ‌
         ‌
 KEN‌‌PAXTON,‌‌in‌‌his‌‌official‌‌capacity‌‌as‌‌
 Attorney‌‌General‌‌of‌‌Texas,‌‌ ‌
         ‌
        Defendant‌.‌ ‌
         ‌
               DECLARATION‌‌OF‌‌YOUTUBE‌‌IN‌‌SUPPORT‌‌OF‌‌PLAINTIFFS’‌ ‌
                     MOTION‌‌FOR‌‌PRELIMINARY‌‌INJUNCTION‌ ‌

         I,‌‌Alexandra‌‌N.‌‌Veitch,‌‌declare‌‌as‌‌follows:‌ ‌
          ‌
         1.       I‌ ‌am‌ ‌the‌ ‌Director‌ ‌of‌ ‌Public‌ ‌Policy‌ ‌for‌ ‌the‌ ‌Americas‌ ‌at‌‌YouTube.‌‌As‌‌part‌‌of‌‌my‌‌

role,‌ ‌I‌ ‌lead‌ ‌a‌ ‌team‌ ‌that‌ ‌advises‌ ‌the‌ ‌company‌ ‌on‌ ‌public‌ ‌policy‌ ‌issues‌ ‌around‌ ‌online,‌‌

user-generated‌ ‌content.‌ ‌My‌ ‌team‌ ‌advises‌ ‌on‌ ‌YouTube’s‌ ‌content‌ ‌moderation‌ ‌policies‌ ‌and‌‌

practices,‌‌identifies‌‌when‌‌changes‌‌to‌‌our‌‌policies‌‌or‌‌their‌‌application‌‌are‌‌required‌‌in‌‌response‌‌to‌‌

new‌ ‌challenges,‌ ‌and‌ ‌assesses‌ ‌policy‌ ‌proposals‌ ‌and‌ ‌legislation,‌ ‌such‌ ‌as‌ ‌Texas’s‌ ‌H.B.‌ ‌20,‌ ‌that‌‌

would‌‌affect‌‌YouTube’s‌‌ability‌‌to‌‌moderate‌‌content.‌ ‌

         2.       The‌ ‌statements‌ ‌contained‌ ‌in‌ ‌this‌ ‌declaration‌ ‌are‌ ‌made‌ ‌upon‌ ‌my‌ ‌personal‌‌

knowledge.‌‌I‌‌am‌‌over‌‌the‌‌age‌‌of‌‌18‌‌and‌‌am‌‌competent‌‌to‌‌make‌‌the‌‌statements‌‌herein.‌‌I‌‌make‌‌this‌‌

Declaration‌ ‌in‌ ‌Support‌ ‌of‌ ‌Plaintiffs’‌ ‌Motion‌ ‌for‌ ‌Preliminary‌ ‌Injunction‌ ‌in‌‌the‌‌above-captioned‌‌

matter.‌‌If‌‌called‌‌as‌‌a‌‌witness,‌‌I‌‌could‌‌and‌‌would‌‌testify‌‌under‌‌oath‌‌as‌‌follows.‌ ‌
         3.       YouTube‌ ‌is‌ ‌an‌ ‌online‌ ‌platform‌ ‌that‌ ‌allows‌ ‌users‌ ‌to‌ ‌create,‌ ‌upload,‌ ‌and‌ ‌share‌‌

videos‌ ‌with‌ ‌others‌ ‌around‌ ‌the‌ ‌world.‌ ‌YouTube‌ ‌strives‌ ‌to‌ ‌be‌ ‌a‌ ‌community‌ ‌that‌ ‌fosters‌‌

self-expression‌‌on‌‌an‌‌array‌‌of‌‌topics‌‌as‌‌diverse‌‌as‌‌its‌‌user‌‌base,‌‌and‌‌to‌‌nurture‌‌a‌‌thriving‌‌creative‌‌

and‌ ‌informational‌ ‌ecosystem,‌ ‌as‌ ‌well‌ ‌as‌ ‌an‌ ‌engine‌ ‌of‌ ‌economic‌ ‌opportunity.‌ ‌Over‌ ‌two‌ ‌billion‌‌

logged-in‌ ‌users‌ ‌worldwide‌ ‌visit‌ ‌each‌‌month,‌‌and‌‌over‌‌500‌‌hours‌‌of‌‌content‌‌are‌‌uploaded‌‌every‌‌

minute‌‌by‌‌an‌‌extraordinarily‌‌diverse‌‌community‌‌of‌‌creators,‌‌who‌‌span‌‌over‌‌100‌‌countries‌‌and‌‌80‌‌

languages.‌‌On‌‌a‌‌daily‌‌basis,‌‌users‌‌watch‌‌over‌‌a‌‌billion‌‌hours‌‌of‌‌video‌‌on‌‌YouTube.‌‌ ‌

         4.       YouTube‌ ‌is‌ ‌a‌‌part‌‌of‌‌Google‌‌LLC,‌‌a‌‌member‌‌of‌‌NetChoice‌‌and‌‌CCIA.‌‌YouTube‌‌

does‌ ‌business‌ ‌in‌ ‌Texas‌ ‌and‌ ‌many‌ ‌of‌ ‌its‌ ‌users‌ ‌are‌ ‌located‌ ‌in‌ ‌Texas.‌ ‌Texas‌ ‌users‌ ‌have‌ ‌access‌‌

generally‌‌to‌‌all‌‌content‌‌on‌‌YouTube‌‌that‌‌is‌‌available‌‌in‌‌the‌‌United‌‌States‌‌and‌‌worldwide.‌‌ ‌

         Responsibility‌‌at‌‌YouTube‌ ‌

         5.       YouTube‌‌believes‌‌that‌‌the‌‌Internet‌‌is‌‌a‌‌force‌‌for‌‌creativity,‌‌learning,‌‌and‌‌access‌‌to‌‌

information.‌ ‌Supporting‌‌the‌‌free‌‌flow‌‌of‌‌ideas‌‌is‌‌at‌‌the‌‌heart‌‌of‌‌YouTube’s‌‌mission.‌‌We‌‌believe‌‌

that‌‌the‌‌world‌‌is‌‌a‌‌better‌‌place‌‌when‌‌we‌‌listen,‌‌share,‌‌and‌‌build‌‌community‌‌through‌‌our‌‌stories.‌‌

We‌ ‌strive‌ ‌to‌ ‌make‌ ‌YouTube‌ ‌as‌ ‌open‌‌as‌‌possible:‌‌to‌‌empower‌‌users‌‌to‌‌access,‌‌create,‌‌and‌‌share‌‌

information.‌‌We‌‌believe‌‌that‌‌openness‌‌brings‌‌opportunity,‌‌community,‌‌and‌‌learning,‌‌and‌‌enables‌‌

diverse‌‌and‌‌authentic‌‌voices‌‌to‌‌break‌‌through.‌‌ ‌

         6.       Yet‌‌an‌‌open‌‌platform‌‌means‌‌challenges,‌‌and‌‌it‌‌demands‌‌accountability‌‌to‌‌connect‌‌

people‌ ‌with‌ ‌quality‌ ‌information.‌ ‌When‌ ‌you‌‌create‌‌a‌‌place‌‌designed‌‌to‌‌welcome‌‌many‌‌different‌‌

voices,‌‌some‌‌will‌‌inevitably‌‌cross‌‌the‌‌line.‌‌Bad‌‌actors‌‌will‌‌try‌‌to‌‌exploit‌‌platforms‌‌for‌‌their‌‌own‌‌

personal‌ ‌gain,‌‌even‌‌as‌‌we‌‌invest‌‌in‌‌the‌‌systems‌‌to‌‌stop‌‌and‌‌deter‌‌them.‌‌Harmful‌‌content‌‌on‌‌our‌‌

platform‌‌makes‌‌YouTube‌‌less‌‌open,‌‌not‌‌more,‌‌by‌‌creating‌‌a‌‌space‌‌where‌‌creators‌‌and‌‌users‌‌may‌




                                                            2‌ ‌
not‌ ‌feel‌ ‌safe‌ ‌to‌ ‌share.‌ ‌We‌ ‌believe‌ ‌that,‌ ‌in‌ ‌order‌ ‌to‌ ‌have‌ ‌and‌ ‌protect‌ ‌openness,‌ ‌you‌ ‌must‌ ‌have‌‌

responsibility.‌ ‌A‌ ‌commitment‌ ‌to‌ ‌openness‌ ‌is‌ ‌not‌ ‌easy.‌ ‌It‌ ‌sometimes‌ ‌means‌ ‌leaving‌ ‌up‌ ‌content‌‌

that‌ ‌is‌ ‌outside‌ ‌the‌ ‌mainstream,‌ ‌controversial,‌ ‌or‌ ‌even‌ ‌offensive.‌ ‌But‌ ‌YouTube‌ ‌believes‌ ‌that‌‌

hearing‌‌a‌‌broad‌‌range‌‌of‌‌perspectives‌‌ultimately‌‌makes‌‌us‌‌a‌‌stronger‌‌and‌‌more‌‌informed‌‌society,‌‌

even‌‌if‌‌we‌‌disagree‌‌with‌‌some‌‌of‌‌those‌‌views.‌‌YouTube‌‌seeks‌‌to‌‌strike‌‌the‌‌right‌‌balance‌‌between‌‌

fostering‌‌freedom‌‌of‌‌expression‌‌and‌‌decreasing‌‌the‌‌likelihood‌‌that‌‌users‌‌will‌‌encounter‌‌harmful‌‌

content‌‌on‌‌our‌‌platform.‌‌ ‌

         7.        These‌ ‌beliefs‌ ‌and‌ ‌values‌ ‌drive‌ ‌the‌ ‌decisions‌ ‌we’ve‌ ‌made‌ ‌in‌ ‌building‌ ‌YouTube,‌‌

and‌ ‌the‌ ‌editorial‌ ‌judgements‌ ‌we’ve‌ ‌made‌ ‌in‌ ‌crafting‌ ‌the‌ ‌content‌‌moderation‌‌tools‌‌and‌‌policies‌‌

that‌ ‌protect‌ ‌our‌ ‌platform.‌ ‌We‌ ‌want‌ ‌YouTube‌ ‌to‌ ‌live‌ ‌up‌ ‌to‌ ‌the‌ ‌ideals‌ ‌of‌ ‌these‌ ‌values–despite‌‌

challenges,‌ ‌complexities,‌ ‌and‌ ‌emerging‌ ‌threats.‌ ‌We‌ ‌work‌ ‌to‌ ‌maintain‌ ‌our‌ ‌community‌ ‌as‌ ‌a‌‌

positive,‌ ‌open,‌ ‌and‌ ‌useful‌ ‌space‌ ‌on‌‌the‌‌Internet.‌‌Our‌‌balanced‌‌approach‌‌to‌‌content‌‌moderation,‌‌

described‌ ‌below,‌ ‌represents‌ ‌these‌ ‌values.‌ ‌While‌ ‌important‌ ‌work‌ ‌remains‌ ‌to‌ ‌be‌ ‌done,‌ ‌this‌‌

approach‌ ‌also‌ ‌represents‌ ‌years‌ ‌of‌ ‌ongoing‌ ‌conversations‌ ‌amongst‌ ‌YouTube‌ ‌and‌ ‌its‌ ‌users,‌‌

creators,‌‌and‌‌advertisers,‌‌of‌‌the‌‌right‌‌balance‌‌for‌‌our‌‌products‌‌and‌‌businesses.‌ ‌

         8.        Responsibility‌ ‌is‌ ‌YouTube’s‌ ‌number‌ ‌one‌ ‌priority.‌ ‌Indeed,‌ ‌our‌ ‌unique‌ ‌business‌‌

model‌ ‌only‌ ‌works‌ ‌when‌ ‌our‌ ‌viewers,‌ ‌creators,‌ ‌and‌ ‌advertisers‌ ‌all‌ ‌have‌ ‌confidence‌‌that‌‌we‌‌are‌‌

living‌ ‌up‌ ‌to‌ ‌our‌ ‌responsibility‌ ‌as‌ ‌a‌ ‌business.‌‌That‌‌responsibility‌‌has‌‌been‌‌critical‌‌to‌‌YouTube’s‌‌

success‌ ‌and‌ ‌essential‌ ‌to‌ ‌our‌ ‌continued‌ ‌growth,‌ ‌so‌ ‌we’ve‌ ‌invested‌ ‌heavily‌ ‌in‌‌hiring‌‌people‌‌and‌‌

developing‌‌products,‌‌technology,‌‌and‌‌systems‌‌to‌‌apply‌‌our‌‌editorial‌‌discretion‌‌at‌‌scale.‌ ‌

         YouTube’s‌‌Approach‌‌to‌‌Responsibility‌‌and‌‌Content‌‌Moderation‌‌ ‌




                                                              3‌ ‌
         9.       YouTube‌ ‌takes‌ ‌a‌‌multi-faceted‌‌and‌‌nuanced‌‌approach‌‌to‌‌exercising‌‌its‌‌discretion‌‌

in‌ ‌setting‌ ‌its‌ ‌content-moderation‌ ‌policies,‌ ‌working‌ ‌to‌ ‌distinguish‌ ‌those‌ ‌posts‌ ‌that‌ ‌are‌ ‌truly‌‌

problematic,‌ ‌those‌ ‌that‌ ‌are‌ ‌borderline,‌ ‌and‌ ‌those‌ ‌that‌ ‌contribute‌ ‌positively‌ ‌to‌ ‌the‌ ‌YouTube‌‌

community.‌‌To‌‌that‌‌end,‌‌we‌‌have‌‌a‌‌diverse‌‌set‌‌of‌‌tools‌‌to‌‌help‌‌us‌‌enforce‌‌our‌‌content-moderation‌‌

policies,‌ ‌including:‌ ‌age-gating,‌ ‌removing‌ ‌videos‌ ‌and‌ ‌comments,‌ ‌appending‌ ‌warnings,‌ ‌and‌‌

suspending‌‌and/or‌‌terminating‌‌accounts.‌‌We‌‌also‌‌have‌‌other‌‌tools‌‌to‌‌help‌‌us‌‌provide‌‌authoritative‌‌

information‌‌on‌‌our‌‌platform‌‌-‌‌such‌‌as‌‌the‌‌use‌‌of‌‌information‌‌panels.‌‌And‌‌we‌‌further‌‌limit‌‌when‌‌

YouTube‌ ‌makes‌ ‌recommendations‌ ‌of‌ ‌borderline‌ ‌content‌ ‌to‌ ‌users.‌ ‌Because‌‌removing‌‌content‌‌is‌‌

only‌‌part‌‌of‌‌the‌‌discussion,‌‌YouTube‌‌has‌‌chosen‌‌to‌‌develop‌‌and‌‌invest‌‌in‌‌this‌‌diverse‌‌set‌‌of‌‌tools‌‌

that‌ ‌are‌ ‌essential‌ ‌in‌ ‌balancing‌ ‌free‌ ‌expression‌ ‌and‌ ‌responsibility‌ ‌on‌ ‌our‌ ‌platform.‌ ‌Simply‌ ‌put,‌‌

these‌ ‌tools‌ ‌give‌ ‌us‌ ‌broader‌ ‌options‌ ‌than‌ ‌simply‌ ‌removing‌ ‌(or‌ ‌not‌ ‌removing)‌ ‌content‌ ‌from‌ ‌our‌‌

platform.‌‌ ‌

         10.      Yet‌‌H.B.‌‌20‌‌would‌‌eliminate‌‌much‌‌of‌‌our‌‌ability‌‌to‌‌make‌‌these‌‌kinds‌‌of‌‌choices‌‌in‌‌

setting‌‌our‌‌policies‌‌and‌‌would‌‌subject‌‌YouTube‌‌and‌‌its‌‌community‌‌to‌‌serious‌‌harm‌‌by‌‌frustrating‌‌

our‌‌ongoing‌‌efforts‌‌to‌‌make‌‌YouTube‌‌a‌‌far‌‌more‌‌accessible‌‌and‌‌welcoming‌‌place.‌‌ ‌

         11.      YouTube‌ ‌has‌ ‌always‌ ‌had‌ ‌policies‌ ‌that‌ ‌govern‌ ‌how‌ ‌people‌ ‌may‌ ‌use‌ ‌the‌ ‌service,‌‌

including‌‌restrictions‌‌on‌‌the‌‌types‌‌of‌‌content‌‌that‌‌they‌‌may‌‌post.‌‌These‌‌policies‌‌are‌‌designed‌‌and‌‌

regularly‌‌updated‌‌to‌‌make‌‌YouTube‌‌a‌‌safer‌‌and‌‌more‌‌enjoyable‌‌place‌‌for‌‌users‌‌and‌‌creators,‌‌and‌‌

reflect‌ ‌years‌ ‌of‌ ‌experience,‌ ‌investment,‌ ‌and‌ ‌an‌‌ongoing‌‌conversation‌‌between‌‌YouTube‌‌and‌‌its‌‌

users.‌‌YouTube’s‌‌approach‌‌has‌‌four‌‌pillars,‌‌set‌‌forth‌‌below.‌ ‌




                                                           4‌ ‌
         12.      First,‌ ‌we‌ ‌remove‌ ‌content‌ ‌that‌ ‌violates‌‌our‌‌‌Community‌‌Guidelines‌,‌‌‌a‌‌series‌‌of‌‌
                                                                                                                 1
clear,‌ ‌publicly-facing‌ ‌policies‌ ‌governing‌‌what‌‌is‌‌allowed‌‌and‌‌not‌‌allowed‌‌on‌‌our‌‌platform.‌ ‌We‌‌

work‌ ‌closely‌ ‌with‌ ‌outside‌ ‌experts‌ ‌to‌ ‌help‌ ‌us‌ ‌craft‌ ‌these‌ ‌policies‌ ‌(and‌ ‌their‌ ‌enforcement),‌‌

primarily‌‌focused‌‌on‌‌preventing‌‌real-world‌‌harms.‌‌The‌‌Community‌‌Guidelines‌‌prohibit‌‌a‌‌variety‌‌

of‌ ‌harmful,‌ ‌offensive,‌ ‌and‌ ‌unlawful‌ ‌material,‌ ‌such‌ ‌as‌ ‌hate‌ ‌speech,‌ ‌pornography,‌ ‌terrorist‌‌

incitement,‌ ‌false‌ ‌propaganda‌ ‌spread‌ ‌by‌ ‌hostile‌ ‌foreign‌ ‌governments,‌ ‌promotion‌ ‌of‌ ‌fraudulent‌‌

schemes,‌‌spam,‌‌egregious‌‌violations‌‌of‌‌personal‌‌privacy‌‌like‌‌revenge‌‌pornography,‌‌violations‌‌of‌‌

intellectual‌ ‌property‌ ‌rights,‌ ‌bullying‌ ‌and‌ ‌harassment,‌ ‌conspiracy‌ ‌theories,‌ ‌and‌ ‌dangerous‌‌

computer‌ ‌viruses.‌ ‌A‌ ‌full‌ ‌list‌ ‌of‌ ‌YouTube’s‌ ‌Community‌ ‌Guidelines‌ ‌is‌ ‌available‌ ‌at:‌‌

https://bit.ly/3CbToFY‌.‌‌ ‌

         13.      We‌ ‌employ‌ ‌an‌ ‌array‌ ‌of‌ ‌remedial‌ ‌actions‌ ‌when‌ ‌enforcing‌ ‌our‌ ‌policies,‌ ‌ranging‌‌

from‌ ‌demonetization‌ ‌(i.e.,‌ ‌removing‌ ‌a‌ ‌creator’s‌ ‌ability‌ ‌to‌ ‌earn‌ ‌advertising‌ ‌revenue)‌ ‌and‌‌

warnings,‌ ‌to‌ ‌service-usage‌ ‌penalties‌ ‌such‌ ‌as‌ ‌temporary‌ ‌suspensions‌ ‌of‌ ‌uploading‌ ‌rights‌ ‌and‌‌

permanent‌ ‌termination‌ ‌of‌ ‌accounts.‌ ‌When‌ ‌an‌ ‌account‌ ‌uploads‌ ‌content‌ ‌that‌ ‌violates‌ ‌the‌‌

Community‌ ‌Guidelines,‌ ‌the‌ ‌content‌ ‌is‌ ‌removed‌ ‌and‌ ‌the‌ ‌account‌ ‌generally‌ ‌receives‌ ‌a‌ ‌warning.‌‌

Subsequent‌ ‌violative‌ ‌content‌ ‌can‌ ‌result‌‌in‌‌a‌‌“strike,”‌‌which‌‌temporarily‌‌suspends‌‌the‌‌account’s‌‌

ability‌ ‌to‌ ‌upload‌ ‌content.‌ ‌Generally,‌ ‌three‌ ‌strikes‌ ‌within‌ ‌90‌ ‌days‌ ‌leads‌ ‌to‌ ‌the‌ ‌account’s‌‌

termination‌ ‌and‌ ‌deletion‌ ‌of‌ ‌all‌ ‌content‌ ‌uploaded‌ ‌from‌ ‌the‌ ‌account.‌ ‌In‌‌the‌‌case‌‌of‌‌severe‌‌abuse‌‌

(such‌ ‌as‌ ‌predatory‌ ‌behavior,‌ ‌spam,‌ ‌or‌ ‌pornography),‌ ‌YouTube‌ ‌will‌ ‌immediately‌ ‌terminate‌‌

accounts‌‌to‌‌protect‌‌the‌‌YouTube‌‌community.‌‌ ‌




         1
          ‌We‌‌communicate‌‌our‌‌practices‌‌to‌‌all‌‌users‌‌through‌‌YouTube’s‌‌Community‌‌Guidelines,‌‌
which‌ ‌are‌‌incorporated‌‌into‌‌our‌‌Terms‌‌of‌‌Service.‌‌A‌‌user‌‌must‌‌agree‌‌to‌‌both‌‌the‌‌Terms‌‌and‌‌the‌‌
Community‌‌Guidelines‌‌in‌‌order‌‌to‌‌create‌‌an‌‌account‌‌and‌‌upload‌‌materials‌‌to‌‌YouTube.‌‌ ‌

                                                          5‌ ‌
         14.      Second,‌ ‌we‌ ‌reduce‌ ‌the‌ ‌spread‌ ‌of‌ ‌harmful‌ ‌misinformation‌ ‌and‌ ‌content‌ ‌that‌‌

brushes‌ ‌up‌ ‌against‌ ‌our‌ ‌policy‌ ‌lines‌.‌ ‌We‌ ‌refer‌ ‌to‌ ‌content‌ ‌that‌ ‌comes‌ ‌close‌ ‌to‌ ‌violating‌ ‌our‌‌

Community‌ ‌Guidelines‌ ‌(but‌ ‌does‌ ‌not)‌ ‌as‌ ‌“borderline‌ ‌content”.‌ ‌Borderline‌ ‌content‌ ‌is‌ ‌just‌ ‌a‌‌

fraction‌‌of‌‌1%‌‌of‌‌what‌‌is‌‌watched‌‌on‌‌YouTube‌‌in‌‌the‌‌United‌‌States,‌‌and‌‌examples‌‌include‌‌videos‌‌

promoting‌‌a‌‌phony‌‌miracle‌‌cure‌‌for‌‌a‌‌serious‌‌illness‌‌or‌‌conspiracy‌‌theory‌‌videos‌‌(e.g.,‌‌“the‌‌moon‌‌

landing‌‌was‌‌faked”).‌ ‌

         15.      Rather‌ ‌than‌ ‌remove‌ ‌such‌ ‌content‌ ‌outright,‌ ‌we’ve‌ ‌chosen‌ ‌to‌‌take‌‌steps‌‌to‌‌reduce‌‌

the‌ ‌spread‌ ‌of‌‌such‌‌content‌‌using‌‌a‌‌variety‌‌of‌‌methods.‌‌Because‌‌such‌‌borderline‌‌content‌‌may‌‌be‌‌

disturbing‌ ‌or‌ ‌otherwise‌ ‌inappropriate‌ ‌for‌ ‌some‌ ‌viewers,‌ ‌YouTube‌ ‌has‌ ‌chosen‌ ‌to‌ ‌take‌ ‌action‌‌

(using‌ ‌algorithms)‌ ‌to‌ ‌reduce‌ ‌its‌ ‌availability,‌ ‌including‌ ‌updating‌ ‌YouTube’s‌ ‌recommendations‌‌

system,‌ ‌and‌ ‌disabling‌ ‌features‌ ‌like‌ ‌sharing,‌ ‌commenting,‌ ‌and‌ ‌liking‌‌for‌‌the‌‌borderline‌‌content.‌‌

We‌ ‌set‌ ‌a‌ ‌high‌ ‌bar‌ ‌for‌ ‌what‌ ‌videos‌ ‌we‌ ‌display‌ ‌prominently‌ ‌in‌ ‌our‌ ‌recommendations‌ ‌on‌ ‌the‌‌

YouTube‌‌homepage‌‌or‌‌through‌‌the‌‌“Up‌‌next”‌‌panel.‌‌ ‌

 ‌
         16.      Third,‌ ‌we‌ ‌raise‌ ‌authoritative‌ ‌and‌ ‌trusted‌‌content.‌‌‌For‌‌subjects‌‌such‌‌as‌‌news,‌‌

science,‌ ‌and‌ ‌historical‌ ‌events,‌ ‌we‌ ‌believe‌ ‌that‌ ‌accuracy‌ ‌and‌ ‌authoritativeness‌ ‌are‌ ‌key‌ ‌and‌ ‌the‌

quality‌ ‌of‌ ‌information‌ ‌and‌ ‌context‌ ‌matter‌ ‌most‌ ‌(as‌ ‌compared‌ ‌to‌ ‌other‌ ‌topics‌ ‌such‌ ‌as‌ ‌music‌‌or‌‌

entertainment,‌ ‌where‌‌we‌‌look‌‌to‌‌relevance,‌‌newness,‌‌and‌‌popularity).‌‌Here,‌‌content‌‌moderation‌‌

can‌ ‌include‌ ‌affirmatively‌ ‌providing‌ ‌users‌ ‌with‌ ‌information‌ ‌to‌ ‌help‌ ‌them‌ ‌make‌ ‌choices‌ ‌about‌‌

whether‌ ‌or‌ ‌not‌ ‌to‌ ‌interact‌ ‌with‌ ‌certain‌ ‌kinds‌ ‌of‌ ‌content.‌ ‌It‌ ‌is‌ ‌sometimes‌ ‌helpful‌ ‌to‌ ‌provide‌‌

viewers‌‌with‌‌additional‌‌context‌‌about‌‌the‌‌content‌‌they‌‌are‌‌watching.‌‌ ‌

     ● Information‌ ‌Panels.‌‌‌We‌‌display‌‌a‌‌variety‌‌of‌‌information‌‌panels‌‌that‌‌provide‌‌users‌‌with‌‌

         context‌‌on‌‌content‌‌relating‌‌to‌‌topics‌‌and‌‌news‌‌prone‌‌to‌‌misinformation,‌‌as‌‌well‌‌as‌‌context‌‌



                                                            6‌ ‌
         about‌ ‌who‌ ‌submitted‌ ‌the‌ ‌content.‌ ‌One‌ ‌example‌ ‌is‌ ‌an‌ ‌information‌ ‌panel‌ ‌displayed‌ ‌on‌‌
                                                                                                                            2
         videos‌ ‌from‌ ‌a‌ ‌channel‌ ‌owned‌ ‌by‌ ‌a‌ ‌news‌ ‌publisher‌ ‌that‌ ‌is‌ ‌funded‌ ‌by‌ ‌a‌ ‌government.‌ ‌

         Another‌ ‌example‌ ‌is‌ ‌National‌ ‌Suicide‌ ‌Prevention‌ ‌Hotline‌‌information‌‌that‌‌we‌‌display‌‌in‌‌

         response‌ ‌to‌ ‌search‌ ‌queries‌ ‌for‌ ‌terms‌ ‌related‌ ‌to‌ ‌suicide.‌ ‌Information‌ ‌panels,‌ ‌across‌ ‌all‌‌

         types,‌‌have‌‌been‌‌collectively‌‌shown‌‌billions‌‌of‌‌times.‌‌The‌‌COVID-19‌‌information‌‌panels‌‌

         alone‌‌have‌‌been‌‌shown‌‌over‌‌400‌‌billion‌‌times.‌‌ ‌

    ● Breaking‌ ‌News.‌‌‌Similarly,‌‌after‌‌a‌‌breaking‌‌news‌‌event,‌‌it‌‌takes‌‌time‌‌to‌‌verify,‌‌produce,‌‌

         and‌ ‌publish‌ ‌high-quality‌ ‌videos.‌ ‌Journalists‌ ‌often‌ ‌write‌ ‌articles‌ ‌first‌ ‌to‌ ‌break‌ ‌the‌ ‌news‌‌

         rather‌ ‌than‌ ‌produce‌ ‌videos.‌ ‌So‌ ‌YouTube‌ ‌has‌ ‌chosen‌ ‌to‌ ‌prioritize‌ ‌these‌ ‌articles‌ ‌and‌‌

         provides‌‌a‌‌short‌‌preview‌‌of‌‌news‌‌articles‌‌in‌‌search‌‌results‌‌on‌‌YouTube‌‌that‌‌link‌‌to‌‌the‌‌full‌‌

         article‌‌during‌‌the‌‌initial‌‌hours‌‌of‌‌a‌‌major‌‌news‌‌event.‌ ‌

         17.        Fourth,‌ ‌we‌ ‌reward‌ ‌trusted,‌ ‌eligible‌ ‌creators‌ ‌by‌ ‌setting‌ ‌a‌ ‌higher‌ ‌bar‌ ‌for‌‌

ads/monetization‌.‌ ‌Users‌ ‌must‌ ‌meet‌ ‌additional‌ ‌eligibility‌ ‌requirements‌3 ‌for‌ ‌the‌ ‌privilege‌ ‌of‌

earning‌ ‌advertising‌ ‌revenue‌ ‌(“monetization”)‌‌on‌‌videos‌‌they‌‌upload.‌‌They‌‌must‌‌be‌‌eligible‌‌for,‌‌

and‌ ‌join,‌ ‌the‌ ‌YouTube‌ ‌Partner‌ ‌Program‌ ‌(“YTPP”)‌ ‌and‌ ‌follow‌ ‌YTPP‌ ‌guidelines.‌4 ‌Just‌ ‌over‌ ‌2‌‌

million‌ ‌users‌‌worldwide,‌‌out‌‌of‌‌the‌‌2‌‌billion‌‌monthly‌‌users‌‌generally,‌‌are‌‌part‌‌of‌‌the‌‌YTPP‌‌and‌‌

monetize‌ ‌their‌ ‌videos.‌ ‌Such‌ ‌users‌ ‌and‌ ‌their‌ ‌monetized‌ ‌videos‌ ‌also‌ ‌must‌ ‌meet‌ ‌more‌ ‌restrictive‌‌

criteria,‌‌including‌‌the‌‌Ad-friendly‌‌Content‌‌Guidelines,‌‌because‌‌advertisers‌‌typically‌‌do‌‌not‌‌want‌‌

to‌‌be‌‌associated‌‌with‌‌controversial‌‌or‌‌sensitive‌‌content‌‌on‌‌YouTube.‌5 ‌Violations‌‌of‌‌the‌‌guidelines‌‌

may‌ ‌result‌ ‌in‌ ‌a‌ ‌range‌ ‌of‌ ‌actions,‌ ‌such‌ ‌as‌ ‌(1)‌ ‌ads‌ ‌being‌ ‌disabled‌ ‌on‌ ‌a‌ ‌particular‌ ‌video,‌ ‌(2)‌‌



         2
             ‌https://bit.ly/3fpnHzu‌.‌‌ ‌
         3
           h‌ ttps://www.youtube.com/howyoutubeworks/policies/monetization-policies/‌ ‌
         4
           h‌ ttps://support.google.com/youtube/answer/72851?hl=en&ref_topic=9153826‌‌ ‌
         5
           h‌ ttps://bit.ly/3ojt7B9‌.‌‌ ‌


                                                             7‌ ‌
suspending‌ ‌or‌ ‌permanently‌ ‌disabling‌ ‌a‌ ‌user’s‌ ‌eligibility‌ ‌to‌ ‌monetize‌ ‌ads,‌‌(3)‌‌or,‌‌in‌‌exceptional‌‌

circumstances,‌‌suspending‌‌or‌‌disabling‌‌a‌‌user’s‌‌account‌‌altogether‌‌to‌‌protect‌‌the‌‌integrity‌‌of‌‌the‌‌

platform‌‌or‌‌protect‌‌our‌‌users‌‌from‌‌harm.‌ ‌

         18.      Scale.‌‌‌In‌‌Q2‌‌2021‌‌alone,‌‌YouTube‌‌removed‌‌over‌‌4‌‌million‌‌channels‌‌(or‌‌accounts),‌‌

over‌ ‌6‌ ‌million‌ ‌videos,‌ ‌and‌ ‌over‌ ‌1‌ ‌billion‌ ‌comments,‌ ‌for‌ ‌violations‌ ‌of‌ ‌YouTube’s‌ ‌Community‌‌
                      6
Guidelines‌ ‌alone.‌ ‌In‌ ‌Q2‌ ‌2021,‌ ‌29.9%‌ ‌of‌ ‌the‌ ‌videos‌ ‌removed‌ ‌were‌ ‌due‌ ‌to‌ ‌child‌ ‌safety‌ ‌issues.‌‌
                                                           7
55%‌ ‌of‌ ‌removed‌ ‌comments‌ ‌were‌‌due‌‌to‌‌spam.‌ ‌Further‌‌statistics‌‌(including‌‌others‌‌discussed‌‌in‌‌

this‌ ‌declaration)‌ ‌may‌ ‌be‌ ‌found‌ ‌in‌ ‌the‌ ‌YouTube‌ ‌Community‌ ‌Guidelines‌ ‌enforcement‌ ‌report,‌‌

updated‌‌quarterly.‌8 ‌ ‌

         19.      H.B.‌‌20‌‌significantly‌‌limits‌‌these‌‌ongoing‌‌efforts‌‌to‌‌prevent‌‌harm‌‌to‌‌our‌‌users‌‌and‌ ‌

to‌‌make‌‌YouTube‌‌an‌‌accessible‌‌and‌‌welcoming‌‌place.‌‌ ‌

         The‌‌Evolution‌‌of‌‌YouTube’s‌‌Content‌‌Moderation‌ ‌

         20.      YouTube‌‌has‌‌always‌‌had‌‌rules‌‌of‌‌what‌‌speech‌‌we‌‌permit‌‌on‌‌the‌‌platform,‌‌and‌‌we‌‌

have‌ ‌never‌ ‌claimed‌ ‌that‌ ‌YouTube‌ ‌would‌ ‌host‌ ‌all‌ ‌user-generated‌ ‌content.‌ ‌YouTube‌ ‌has‌ ‌never‌‌

allowed‌‌pornography,‌‌incitement‌‌to‌‌violence,‌‌or‌‌content‌‌that‌‌would‌‌harm‌‌children,‌‌for‌‌example.‌ ‌

         21.      The‌ ‌harms‌ ‌of‌ ‌user-generated‌ ‌content‌ ‌are‌ ‌ever-evolving‌ ‌and‌ ‌often‌ ‌unpredictable,‌‌

and‌‌YouTube’s‌‌content‌‌moderation‌‌policies‌‌have‌‌necessarily‌‌had‌‌to‌‌evolve‌‌to‌‌address‌‌them.‌‌Each‌‌

of‌ ‌our‌ ‌policies‌ ‌is‌ ‌carefully‌ ‌thought‌ ‌through‌ ‌(so‌ ‌they‌ ‌are‌ ‌consistent,‌ ‌well-informed,‌ ‌and‌‌can‌‌be‌‌

applied‌‌to‌‌content‌‌from‌‌around‌‌the‌‌world),‌‌and‌‌often‌‌developed‌‌in‌‌partnership‌‌with‌‌a‌‌wide‌‌range‌‌


         6
             ‌Of‌ ‌those‌ ‌videos,‌ ‌more‌ ‌than‌ ‌30,000‌ ‌contained‌ ‌misinformation‌ ‌about‌ ‌the‌ ‌COVID-19‌‌
vaccine.‌ ‌This‌ ‌was‌ ‌part‌ ‌of‌ ‌YouTube’s‌ ‌larger‌ ‌effort‌ ‌to‌‌remove‌‌medical‌‌misinformation‌‌about‌‌the‌‌
virus,‌‌which‌‌resulted‌‌in‌‌the‌‌removal‌‌of‌‌over‌‌1,000,000‌‌videos‌‌related‌‌to‌‌dangerous‌‌or‌‌misleading‌‌
COVID-19‌‌information‌‌since‌‌February‌‌2020.‌‌ ‌
         7
            ‌YouTube‌‌uses‌‌automated‌‌systems‌‌to‌‌identify‌‌comments‌‌that‌‌are‌‌likely‌‌spam.‌‌ ‌
         8
           h‌ ttps://bit.ly/2VhAsVG‌.‌ ‌

                                                           8‌ ‌
of‌ ‌external‌ ‌industry‌ ‌and‌ ‌policy‌ ‌experts.‌ ‌We‌ ‌revise‌ ‌them‌ ‌regularly‌ ‌to‌ ‌account‌ ‌for‌ ‌new‌ ‌and‌‌

different‌ ‌content‌ ‌or‌ ‌behavior‌ ‌that‌ ‌YouTube‌ ‌deems‌ ‌unacceptable,‌ ‌unsafe,‌ ‌or‌ ‌unwelcome‌ ‌on‌ ‌its‌‌

service.‌ ‌YouTube‌ ‌has‌ ‌also‌ ‌invested‌ ‌significantly‌ ‌in‌‌being‌‌able‌‌to‌‌detect‌‌and‌‌respond‌‌quickly‌‌to‌‌

emerging‌ ‌harms.‌ ‌YouTube’s‌ ‌Intelligence‌ ‌Desk,‌ ‌an‌ ‌internal‌ ‌team,‌ ‌monitors‌ ‌news,‌ ‌social‌ ‌media,‌‌

and‌ ‌user‌ ‌reports‌ ‌to‌ ‌detect‌ ‌these‌ ‌new‌ ‌trends—such‌ ‌as‌ ‌the‌ ‌unpredictable‌ ‌viral‌ ‌‘dares’‌ ‌that‌ ‌risk‌‌

significant‌ ‌physical‌ ‌harm‌ ‌by,‌ ‌for‌ ‌instance,‌ ‌encouraging‌ ‌viewers‌ ‌to‌ ‌ingest‌ ‌Tide‌ ‌Pods—so‌ ‌as‌ ‌to‌‌

address‌ ‌them‌ ‌before‌ ‌they‌ ‌become‌ ‌a‌ ‌larger‌ ‌issue.‌ ‌YouTube‌ ‌has‌ ‌over‌ ‌100‌ ‌people‌ ‌working‌ ‌to‌‌

develop‌‌new‌‌content-moderation‌‌policies‌‌and‌‌improve‌‌existing‌‌ones.‌‌ ‌

         22.       This‌‌approach‌‌and‌‌investment‌‌has‌‌given‌‌YouTube‌‌flexibility‌‌to‌‌build‌‌and‌‌maintain‌

responsible‌ ‌practices‌ ‌to‌ ‌handle‌ ‌legal‌ ‌but‌ ‌potentially‌ ‌harmful‌ ‌speech.‌ ‌In‌ ‌2020,‌ ‌for‌ ‌instance,‌‌

YouTube‌‌updated‌‌its‌‌policies‌‌related‌‌to‌‌medical‌‌misinformation‌‌alone‌‌more‌‌than‌‌ten‌‌times,‌‌which‌‌

is‌ ‌in‌ ‌line‌ ‌with‌ ‌historical‌ ‌trends.‌ ‌In‌ ‌2019,‌ ‌YouTube‌ ‌made‌ ‌over‌ ‌30‌ ‌updates‌ ‌to‌ ‌its‌ ‌content‌‌

moderation‌‌policies‌‌generally—on‌‌average,‌‌once‌‌every‌‌12‌‌days.‌‌We‌‌saw‌‌a‌‌similar‌‌pace‌‌in‌‌2018.‌

And‌ ‌when‌ ‌necessary,‌ ‌YouTube‌ ‌is‌ ‌able‌ ‌to‌ ‌react‌ ‌quickly‌ ‌to‌ ‌promote‌ ‌the‌ ‌safety‌ ‌of‌ ‌its‌ ‌users‌ ‌in‌‌

changing‌ ‌and‌‌emerging‌‌contexts.‌‌For‌‌example,‌‌when‌‌mobile‌‌phone‌‌towers‌‌in‌‌the‌‌U.K.‌‌were‌‌set‌‌

on‌‌fire‌‌after‌‌a‌‌conspiracy‌‌theory‌‌video‌‌blamed‌‌COVID-19‌‌on‌‌5G‌‌wireless‌‌networks,‌‌we‌‌updated‌‌

our‌‌Community‌‌Guidelines‌‌in‌‌a‌‌single‌‌day‌‌to‌‌ban‌‌and‌‌remove‌‌that‌‌harmful‌‌content.‌‌ ‌

         23.       YouTube’s‌‌judgments‌‌evolve‌‌over‌‌time‌‌as‌‌social‌‌and‌‌cultural‌‌conditions‌‌change‌‌or‌‌

unforeseen‌ ‌threats‌ ‌and‌ ‌challenges‌ ‌arise.‌ ‌For‌ ‌instance,‌ ‌after‌ ‌a‌ ‌recent‌ ‌violent‌ ‌military‌ ‌coup‌ ‌in‌‌

Myanmar,‌ ‌YouTube‌ ‌took‌ ‌action‌ ‌against‌ ‌five‌ ‌existing‌ ‌YouTube‌ ‌channels‌ ‌run‌ ‌by‌ ‌the‌ ‌Myanmar‌‌

military,‌‌terminating‌‌the‌‌channels‌‌to‌‌prevent‌‌the‌‌military‌‌from‌‌promoting‌‌political‌‌propaganda.‌9 ‌ ‌




         9
             h‌ ttps://nyti.ms/3xoq0IW‌.‌‌ ‌


                                                            9‌ ‌
         Algorithms‌‌and‌‌Machine‌‌Learning‌ ‌

         24.      YouTube’s‌ ‌engineers‌ ‌have‌ ‌designed‌ ‌and‌ ‌built‌ ‌sophisticated‌ ‌software‌ ‌systems‌‌

using‌ ‌machine‌ ‌learning—a‌ ‌type‌ ‌of‌ ‌algorithm—to‌ ‌moderate‌ ‌content‌ ‌in‌ ‌two‌ ‌key‌ ‌ways:‌ ‌1)‌ ‌to‌‌

proactively‌ ‌identify‌ ‌and‌ ‌flag‌ ‌potentially‌ ‌harmful‌ ‌content‌ ‌uploaded‌ ‌to‌ ‌the‌ ‌site,‌ ‌and‌ ‌2)‌ ‌to‌‌

automatically‌ ‌remove‌ ‌content‌ ‌that‌ ‌is‌ ‌identical‌ ‌or‌ ‌substantially‌ ‌similar‌ ‌to‌ ‌violative‌ ‌content‌ ‌that‌‌

was‌‌previously‌‌removed.‌‌Machine‌‌learning‌‌is‌‌the‌‌product‌‌of‌‌human‌‌decision-making‌‌and‌‌is‌‌used‌‌

to‌ ‌implement‌ ‌the‌ ‌standards‌ ‌set‌ ‌in‌ ‌our‌ ‌Community‌ ‌Guidelines,‌ ‌thereby‌ ‌reflecting‌ ‌YouTube’s‌‌

editorial‌‌judgments.‌‌Our‌‌engineers‌‌design‌‌these‌‌systems‌‌to‌‌identify‌‌certain‌‌types‌‌of‌‌content.‌‌We‌‌

then‌‌use‌‌data‌‌inputs‌‌(reflecting‌‌the‌‌judgment‌‌of‌‌human‌‌reviewers)‌‌to‌‌train‌‌these‌‌machine‌‌learning‌‌

systems‌‌to‌‌identify‌‌patterns‌‌in‌‌content—both‌‌the‌‌rich‌‌media‌‌content‌‌in‌‌videos,‌‌as‌‌well‌‌as‌‌textual‌‌

content‌ ‌like‌ ‌metadata‌ ‌and‌ ‌comments—so‌ ‌that‌ ‌our‌ ‌systems‌ ‌can‌ ‌make‌ ‌predictions‌ ‌and‌‌find‌‌new‌‌

examples‌ ‌to‌ ‌match‌ ‌the‌ ‌identified‌ ‌types‌ ‌of‌‌content.‌‌Machine‌‌learning‌‌is‌‌well-suited‌‌to‌‌detecting‌‌

patterns,‌ ‌which‌ ‌helps‌ ‌us‌ ‌to‌‌identify‌‌new‌‌content‌‌similar‌‌to‌‌that‌‌we‌‌have‌‌already‌‌removed,‌‌even‌‌

before‌ ‌it‌ ‌is‌‌ever‌‌viewed.‌‌We‌‌also‌‌use‌‌hashes‌‌(or‌‌“digital‌‌fingerprints”)‌‌to‌‌automatically‌‌identify‌‌
                                                                                                              10
copies‌ ‌of‌ ‌known‌ ‌violative‌ ‌content‌ ‌before‌ ‌they‌ ‌are‌ ‌ever‌ ‌made‌ ‌available‌ ‌for‌ ‌viewing.‌ ‌These‌‌

systems‌ ‌automatically‌ ‌remove‌ ‌content‌ ‌only‌ ‌where‌ ‌there‌ ‌is‌ ‌high‌ ‌confidence‌ ‌of‌ ‌a‌ ‌policy‌‌

violation—‌e.g.‌,‌ ‌spam—and‌ ‌flag‌ ‌the‌‌rest‌‌for‌‌human‌‌review.‌‌Algorithmic‌‌detection‌‌identifies‌‌the‌‌

vast‌‌majority‌‌of‌‌content‌‌deemed‌‌to‌‌violate‌‌the‌‌Community‌‌Guidelines.‌‌ ‌

         25.      Machine‌‌learning‌‌is‌‌critical‌‌to‌‌implementing‌‌all‌‌aspects‌‌of‌‌YouTube’s‌‌approach‌‌to‌‌

content‌ ‌moderation‌ ‌and‌ ‌keeping‌ ‌our‌ ‌users‌ ‌safe.‌ ‌YouTube‌ ‌relies‌ ‌heavily‌ ‌on‌ ‌technology‌ ‌and‌‌

algorithms‌‌to‌‌moderate‌‌content‌‌and‌‌cannot‌‌feasibly‌‌do‌‌otherwise,‌‌since‌‌over‌‌500‌‌hours‌‌of‌‌video‌‌


         10
           I‌ n‌‌Q1‌‌2021,‌‌27.8%‌‌of‌‌removed‌‌videos‌‌were‌‌taken‌‌down‌‌before‌‌a‌‌single‌‌view.‌‌A‌‌further‌‌
39%‌‌of‌‌removed‌‌videos‌‌had‌‌between‌‌1‌‌and‌‌10‌‌views.‌h‌ ttps://bit.ly/3fpoLmY‌ ‌

                                                           10‌ ‌
are‌ ‌uploaded‌ ‌to‌ ‌YouTube‌ ‌every‌ ‌single‌ ‌minute‌ ‌of‌ ‌every‌ ‌day.‌ ‌At‌ ‌this‌‌massive‌‌scale,‌‌it‌‌would‌‌be‌‌

virtually‌ ‌impossible‌ ‌to‌‌remove‌‌content‌‌that‌‌violates‌‌our‌‌Community‌‌Guidelines‌‌without‌‌the‌‌use‌‌

of‌ ‌algorithmic‌‌tools,‌‌even‌‌with‌‌tens‌‌of‌‌thousands‌‌of‌‌reviewers‌‌watching‌‌newly‌‌uploaded‌‌videos‌‌

24‌ ‌hours‌ ‌a‌ ‌day,‌ ‌7‌ ‌days‌ ‌a‌ ‌week.‌ ‌Due‌ ‌to‌ ‌large‌ ‌multi-year‌ ‌investments‌ ‌in‌ ‌machine‌ ‌learning‌‌

algorithms,‌‌since‌‌2017‌‌we‌‌have‌‌seen‌‌a‌‌70%‌‌drop‌‌in‌‌the‌‌quarterly‌‌estimate‌‌of‌‌the‌‌number‌‌of‌‌views‌‌

for‌‌video‌‌deemed‌‌violate‌‌to‌‌our‌‌policies‌‌(known‌‌as‌‌the‌‌violative‌‌view‌‌rate,‌‌“VVR”).‌11 ‌ ‌

         26.        The‌ ‌vast‌ ‌majority‌ ‌of‌ ‌Community‌ ‌Guidelines‌ ‌violations‌ ‌were‌ ‌flagged‌ ‌by‌‌

algorithms.‌ ‌In‌ ‌Q2‌ ‌2021,‌ ‌YouTube‌ ‌removed‌ ‌6,278,771‌ ‌videos‌ ‌that‌ ‌violated‌ ‌the‌ ‌Community‌‌

Guidelines.‌ ‌The‌ ‌vast‌ ‌majority—5,927,201,‌ ‌or‌ ‌94%‌ ‌of‌ ‌the‌ ‌total‌ ‌removals—were‌ ‌automatically‌‌

flagged‌ ‌for‌ ‌moderation‌ ‌by‌ ‌YouTube’s‌ ‌algorithms.‌ ‌About‌ ‌5%—351,570‌‌videos—were‌‌removed‌‌

based‌ ‌on‌ ‌initial‌ ‌flags‌ ‌by‌ ‌a‌ ‌user‌ ‌or‌ ‌other‌ ‌human.‌ ‌This‌ ‌removal‌ ‌system‌ ‌is‌ ‌highly‌ ‌efficient:‌ ‌the‌‌

majority‌‌of‌‌removed‌‌videos‌‌were‌‌removed‌‌before‌‌accumulating‌‌more‌‌than‌‌10‌‌views.‌‌Similarly‌‌in‌‌

Q2‌ ‌2021,‌ ‌YouTube‌ ‌also‌ ‌removed‌ ‌over‌ ‌1‌ ‌billion‌ ‌comments,‌ ‌99.5%‌ ‌of‌ ‌which‌ ‌were‌ ‌flagged‌ ‌for‌‌

moderation‌‌by‌‌YouTube’s‌‌automated‌‌systems.‌‌ ‌

         27.        Our‌‌machine‌‌learning‌‌and‌‌human‌‌reviewers‌‌work‌‌hand‌‌in‌‌hand:‌‌machine‌‌learning‌‌

is‌ ‌effective‌ ‌for‌ ‌scale‌ ‌and‌ ‌volume,‌ ‌whereas‌ ‌human‌ ‌reviewers‌ ‌can‌ ‌evaluate‌ ‌context‌ ‌for‌ ‌more‌‌

nuanced‌ ‌enforcement‌ ‌of‌ ‌our‌ ‌policies.‌ ‌Once‌ ‌our‌ ‌machine‌ ‌learning‌ ‌systems‌ ‌flag‌ ‌a‌ ‌potentially‌‌

violative‌ ‌video‌ ‌without‌ ‌high‌ ‌confidence‌ ‌of‌ ‌a‌ ‌policy‌‌violation,‌‌human‌‌reviewers‌‌assess‌‌whether‌‌

the‌‌content‌‌does‌‌indeed‌‌violate‌‌our‌‌policies,‌‌and‌‌remove‌‌those‌‌that‌‌do.‌‌In‌‌making‌‌those‌‌judgment‌‌

calls,‌ ‌the‌ ‌reviewers‌ ‌seek‌ ‌to‌ ‌protect‌ ‌content‌ ‌that‌ ‌has‌ ‌an‌ ‌educational,‌‌documentary,‌‌scientific,‌‌or‌‌

artistic‌‌purpose,‌‌keeping‌‌such‌‌videos‌‌on‌‌the‌ ‌platform.‌‌These‌‌human‌‌decisions‌‌and‌‌judgments‌‌are‌‌




         11
              S
              ‌ ee‌h
                   ‌ ttps://bit.ly/38noixm‌.‌‌ ‌


                                                            11‌ ‌
in‌ ‌turn‌ ‌used‌ ‌as‌ ‌data‌ ‌inputs‌ ‌to‌‌improve‌‌the‌‌accuracy‌‌of‌‌our‌‌automated‌‌detection‌‌systems‌‌so‌‌that‌‌

we‌ ‌are‌ ‌constantly‌ ‌updating‌ ‌and‌ ‌improving‌ ‌the‌ ‌system’s‌ ‌ability‌ ‌to‌ ‌identify‌ ‌potentially‌ ‌violative‌‌

content.‌ ‌Using‌ ‌that‌ ‌human‌ ‌review,‌ ‌our‌ ‌machine‌ ‌learning‌ ‌systems‌ ‌can‌ ‌automatically‌ ‌remove‌‌

re-uploads‌ ‌of‌ ‌content‌ ‌that‌ ‌has‌ ‌already‌‌been‌‌reviewed‌‌and‌‌determined‌‌to‌‌violate‌‌our‌‌policies.‌‌In‌‌

addition,‌ ‌when‌ ‌we‌ ‌introduce‌ ‌a‌ ‌new‌‌policy‌‌or‌‌alter‌‌an‌‌existing‌‌one,‌‌it‌‌takes‌‌our‌‌systems‌‌time‌‌to‌‌

improve‌ ‌detection‌ ‌rates‌ ‌and‌ ‌begin‌ ‌accurately‌ ‌detecting‌ ‌violative‌ ‌content‌ ‌at‌ ‌scale.‌ ‌Our‌‌

enforcement‌‌of‌‌new‌‌policies‌‌improves‌‌over‌‌time.‌‌ ‌

Further‌‌Examples‌‌of‌‌Our‌‌Values‌‌Embodied‌‌in‌‌YouTube’s‌‌Content‌‌Moderation‌‌Processes.‌‌ ‌

         28.      During‌ ‌summer‌ ‌2020,‌ ‌YouTube‌ ‌faced‌ ‌a‌ ‌dilemma‌ ‌when‌ ‌confronting‌ ‌the‌ ‌tension‌‌

that‌ ‌arises‌ ‌between‌ ‌1)‌ ‌accuracy‌ ‌when‌ ‌enforcing‌ ‌content‌ ‌policies‌ ‌and‌ ‌2)‌ ‌the‌ ‌need‌ ‌to‌ ‌limit‌‌

potentially‌ ‌harmful‌ ‌content‌ ‌accessible‌ ‌on‌ ‌the‌ ‌site.‌ ‌In‌ ‌response‌ ‌to‌ ‌COVID-19‌ ‌lockdowns‌‌

worldwide,‌ ‌YouTube‌ ‌took‌ ‌steps‌ ‌to‌‌protect‌‌the‌‌health‌‌and‌‌safety‌‌of‌‌our‌‌extended‌‌workforce‌‌and‌‌

reduced‌‌in-office‌‌staffing.‌‌As‌‌a‌‌result‌‌of‌‌reduced‌‌human‌‌review‌‌capacity,‌‌YouTube‌‌had‌‌to‌‌choose‌‌

between‌ ‌limiting‌ ‌enforcement‌ ‌while‌ ‌maintaining‌ ‌a‌ ‌high‌ ‌degree‌ ‌of‌ ‌accuracy,‌ ‌or‌ ‌relying‌ ‌on‌‌

automated‌ ‌systems‌ ‌and‌ ‌algorithms‌ ‌to‌ ‌cast‌ ‌a‌ ‌wider‌ ‌net‌ ‌to‌ ‌remove‌ ‌potentially‌ ‌harmful‌ ‌content‌‌

quickly‌ ‌but‌ ‌with‌ ‌less‌ ‌accuracy.‌ ‌Because‌ ‌of‌ ‌YouTube’s‌ ‌belief‌ ‌that‌ ‌responsibility‌ ‌is‌ ‌critical,‌‌

YouTube‌ ‌chose‌‌the‌‌latter,‌‌despite‌‌the‌‌risks‌‌that‌‌automation‌‌would‌‌lead‌‌to‌‌over-enforcement—in‌‌

other‌ ‌words,‌ ‌removing‌ ‌more‌‌content‌‌that‌‌may‌‌not‌‌violate‌‌our‌‌policies‌‌for‌‌the‌‌sake‌‌of‌‌removing‌‌

more‌‌violative‌‌content‌‌overall.‌‌ ‌

         29.      For‌ ‌certain‌ ‌sensitive‌ ‌high-risk‌ ‌policy‌ ‌areas,‌ ‌such‌‌as‌‌violent‌‌extremism‌‌and‌‌child‌‌

safety,‌ ‌YouTube‌ ‌chooses‌ ‌to‌ ‌accept‌ ‌a‌ ‌lower‌ ‌level‌ ‌of‌ ‌accuracy‌ ‌to‌ ‌remove‌ ‌as‌ ‌many‌ ‌pieces‌ ‌of‌‌

violative‌ ‌content‌ ‌as‌ ‌possible‌ ‌(again,‌ ‌to‌ ‌protect‌‌the‌‌health‌‌and‌‌safety‌‌of‌‌our‌‌extended‌‌workforce‌‌




                                                          12‌ ‌
and‌‌reduced‌‌in-office‌‌staffing).‌‌This‌‌also‌‌means‌‌that,‌‌in‌‌these‌‌areas‌‌specifically,‌‌a‌‌higher‌‌amount‌‌

of‌ ‌non-violative‌ ‌content‌ ‌was‌ ‌removed.‌ ‌YouTube’s‌ ‌decision‌ ‌to‌ ‌over-enforce‌ ‌in‌ ‌these‌ ‌policy‌‌

areas—out‌ ‌of‌ ‌an‌ ‌abundance‌ ‌of‌ ‌caution—has‌ ‌led‌ ‌to‌ ‌a‌ ‌more‌ ‌than‌ ‌3x‌ ‌increase‌ ‌in‌ ‌removals‌ ‌of‌‌

content‌ ‌that‌ ‌our‌ ‌systems‌ ‌suspected‌ ‌was‌ ‌tied‌ ‌to‌ ‌violent‌ ‌extremism‌ ‌or‌ ‌potentially‌ ‌harmful‌ ‌to‌‌

children.‌ ‌These‌ ‌include‌ ‌dares,‌ ‌challenges,‌ ‌or‌ ‌other‌ ‌posted‌ ‌content‌ ‌that‌ ‌may‌ ‌endanger‌ ‌minors.‌‌

Moreover,‌ ‌YouTube‌ ‌will‌ ‌immediately‌ ‌suspend‌ ‌users‌ ‌for‌ ‌egregious‌ ‌violations‌ ‌(rather‌ ‌than‌‌

allowing‌‌a‌‌user‌‌multiple‌‌‘strikes’).‌‌ ‌

        30.       EDSA.‌‌‌Because‌‌YouTube‌‌values‌‌creativity‌‌and‌‌learning,‌‌our‌‌content‌‌policies‌‌have‌‌

an‌‌exception‌‌for‌‌videos‌‌that‌‌would‌‌otherwise‌‌be‌‌in‌‌violation‌‌if‌‌there‌‌is‌‌a‌‌compelling‌‌educational,‌‌

documentary,‌‌scientific,‌‌or‌‌artistic‌‌reason‌‌that‌‌is‌‌apparent‌‌in‌‌the‌‌content‌‌or‌‌context‌‌of‌‌the‌‌video.‌‌

YouTube‌‌refers‌‌to‌‌this‌‌exception‌‌as‌‌“EDSA,”‌‌which‌‌is‌‌a‌‌critical‌‌way‌‌to‌‌make‌‌sure‌‌that‌‌important‌‌

speech‌ ‌remains‌ ‌on‌ ‌YouTube,‌ ‌while‌ ‌simultaneously‌ ‌protecting‌ ‌the‌ ‌wider‌ ‌YouTube‌ ‌ecosystem‌‌
                           12
from‌ ‌harmful‌ ‌content.‌ ‌These‌ ‌decisions‌‌depend‌‌on‌‌a‌‌variety‌‌of‌‌factors‌‌that‌‌depend‌‌on‌ ‌context‌‌

and‌ ‌require‌ ‌nuanced‌ ‌judgments,‌ ‌and‌ ‌the‌ ‌bar‌ ‌varies‌‌by‌‌video‌‌and‌‌policy‌‌category.‌‌For‌‌example,‌‌

hate‌‌speech‌‌and‌‌encouragement‌‌of‌‌violence‌‌violate‌‌our‌‌policies‌‌but‌‌a‌‌documentary‌‌about‌‌WWII‌‌

that‌‌features‌‌speeches‌‌from‌‌Nazi‌‌leaders‌‌may‌‌be‌‌allowed‌‌if‌‌the‌‌documentary‌‌provides‌‌historical‌‌

context‌‌and‌‌does‌‌not‌‌aim‌‌to‌‌support‌‌the‌‌despicable‌‌views‌‌promoted‌‌by‌‌the‌‌Nazis.‌‌There‌‌are‌‌also‌‌

certain‌ ‌types‌ ‌of‌ ‌content‌ ‌where‌ ‌we‌ ‌don't‌ ‌allow‌ ‌an‌ ‌EDSA‌ ‌exception‌ ‌under‌ ‌any‌ ‌circumstances‌‌

because‌ ‌of‌‌the‌‌sensitivity‌‌and‌‌egregiously‌‌harmful‌‌nature‌‌of‌‌the‌‌content,‌‌or‌‌when‌‌it‌‌violates‌‌the‌‌

law.‌‌For‌‌example,‌‌content‌‌that‌‌endangers‌‌children‌‌or‌‌any‌‌content‌‌with‌‌footage‌‌of‌‌deadly‌‌violence‌‌

filmed‌‌by‌‌the‌‌perpetrator‌‌is‌‌not‌‌allowed‌‌on‌‌YouTube‌‌regardless‌‌of‌‌the‌‌context.‌‌ ‌




        12
             ‌https://bit.ly/2VhM7DW‌‌ ‌

                                                        13‌ ‌
         Transparency‌ ‌

         31.      Given‌‌YouTube’s‌‌scale,‌‌we‌‌sometimes‌‌make‌‌mistakes,‌‌which‌‌is‌‌why‌‌creators‌‌can‌‌

appeal‌ ‌video‌ ‌removal‌ ‌decisions.‌ ‌YouTube‌ ‌generally‌ ‌notifies‌ ‌creators‌ ‌when‌ ‌their‌ ‌video‌ ‌is‌‌

removed,‌ ‌and‌ ‌we‌ ‌provide‌ ‌a‌ ‌link‌ ‌with‌ ‌instructions‌ ‌on‌ ‌how‌ ‌to‌ ‌appeal‌ ‌the‌ ‌removal‌‌decision.‌‌If‌‌a‌‌

creator‌‌chooses‌‌to‌‌submit‌‌an‌‌appeal,‌‌the‌‌video‌‌goes‌‌to‌‌human‌‌review,‌‌and‌‌the‌‌decision‌‌is‌‌upheld,‌‌

reversed,‌ ‌or‌ ‌modified‌ ‌(modification‌ ‌leads‌ ‌to‌ ‌reinstatement‌ ‌of‌ ‌the‌ ‌video‌ ‌but‌ ‌with‌ ‌restricted‌‌

access).‌ ‌We‌ ‌provide‌ ‌transparency‌ ‌about‌ ‌our‌ ‌appeals‌ ‌process.‌ ‌As‌ ‌reported‌ ‌in‌ ‌our‌ ‌most‌ ‌recent‌‌

Transparency‌ ‌Report,‌ ‌in‌ ‌Q2‌ ‌2021,‌‌creators‌‌appealed‌‌approximately‌‌217,446‌‌videos,‌‌or‌‌3.5%‌‌of‌‌

all‌‌videos‌‌removed.‌‌Of‌‌those,‌‌more‌‌than‌‌52,696‌‌were‌‌reinstated.‌ ‌

         The‌‌Burdens‌‌Posed‌‌by‌‌H.B.‌‌20‌‌ ‌

         32.      I‌ ‌understand‌ ‌that‌ ‌on‌ ‌September‌ ‌9,‌ ‌2021,‌ ‌the‌ ‌State‌ ‌of‌ ‌Texas‌ ‌enacted‌ ‌H.B.‌ ‌20,‌‌

which‌‌will‌‌go‌‌into‌‌effect‌‌on‌‌December‌‌2,‌‌2021.‌‌ ‌

         33.      The‌ ‌restrictions‌ ‌of‌ ‌H.B.‌ ‌20‌ ‌would‌ ‌fundamentally‌ ‌burden‌ ‌and‌ ‌undermine‌‌

YouTube’s‌ ‌ability‌ ‌to‌ ‌operate‌‌responsibly‌‌and‌‌enforce‌‌the‌‌content-moderation‌‌policies‌‌described‌‌

above.‌ ‌The‌ ‌statute‌ ‌has‌ ‌a‌ ‌broad‌ ‌definition‌ ‌of‌ ‌“censorship”‌ ‌(“to‌‌block,‌‌ban,‌‌remove,‌‌deplatform,‌‌

demonetize,‌ ‌de-boost,‌ ‌restrict,‌ ‌deny‌ ‌equal‌ ‌access‌ ‌or‌ ‌visibility‌ ‌to,‌ ‌or‌ ‌otherwise‌ ‌discriminate‌‌

against‌ ‌expression.”)‌ ‌that‌ ‌covers‌ ‌YouTube’s‌ ‌broad‌ ‌portfolio‌ ‌of‌ ‌content-moderation‌ ‌tools‌‌

(reflecting‌‌our‌‌judgment‌‌and‌‌discretion)‌‌across‌‌a‌‌broad‌‌variety‌‌of‌‌topics.‌‌ ‌

         34.      “Expression”‌ ‌is‌ ‌defined‌ ‌broadly‌ ‌by‌ ‌H.B.‌ ‌20,‌ ‌and‌ ‌would‌ ‌include‌ ‌any‌ ‌and‌ ‌all‌‌

user-generated‌‌content‌‌on‌‌YouTube.‌‌ ‌

         35.      For‌ ‌instance,‌ ‌YouTube‌ ‌simply‌ ‌“blocks”‌ ‌or‌ ‌“removes”‌ ‌certain‌ ‌speech‌ ‌like‌ ‌hate‌‌

speech‌‌that‌‌violates‌‌our‌‌Community‌‌Guidelines’‌‌policy‌‌on‌‌hate‌‌speech.‌‌But‌‌because‌‌hate‌‌speech‌‌




                                                           14‌ ‌
expresses‌ ‌“viewpoints”—as‌ ‌abhorrent‌ ‌as‌ ‌those‌ ‌viewpoints‌ ‌are—H.B.‌ ‌20‌ ‌would‌ ‌bar‌ ‌YouTube‌‌

from‌ ‌taking‌ ‌any‌ ‌content‌ ‌moderation‌ ‌action‌ ‌against‌ ‌such‌ ‌content,‌ ‌such‌ ‌as‌ ‌removing‌ ‌it,‌‌

age-restricting‌‌it,‌‌or‌‌demonetizing‌‌it.‌‌ ‌

         36.       H.B.‌‌20’s‌‌“censorship”‌‌prohibition‌‌will‌‌directly‌‌prevent‌‌YouTube‌‌from‌‌enforcing‌

critical‌ ‌standards‌ ‌designed‌‌to‌‌prevent‌‌the‌‌degradation‌‌of‌‌our‌‌users’‌‌experiences‌‌on‌‌the‌‌platform‌‌

and‌‌to‌‌ensure‌‌their‌‌safety,‌‌including‌‌for‌‌children.‌‌YouTube‌‌needs‌‌discretion‌‌and‌‌flexibility‌‌when‌‌

designing,‌‌building,‌‌and‌‌maintaining‌‌our‌‌content-moderation‌‌policies‌‌because‌‌it‌‌encounters‌‌such‌‌

a‌ ‌broad‌ ‌range‌ ‌of‌ ‌content,‌ ‌and‌ ‌at‌ ‌such‌ ‌high‌ ‌volumes.‌ ‌As‌ ‌described‌‌above,‌‌YouTube’s‌‌Terms‌‌of‌‌

Service,‌ ‌Community‌ ‌Guidelines,‌ ‌and‌ ‌other‌‌content-moderation‌‌rules‌‌include‌‌flexible‌‌terms‌‌that‌‌

allow‌ ‌YouTube‌ ‌to‌ ‌exercise‌ ‌its‌ ‌judgment‌ ‌about‌ ‌specific‌ ‌uses‌ ‌or‌ ‌pieces‌ ‌of‌ ‌content‌ ‌in‌ ‌order‌ ‌to‌‌

provide‌‌a‌‌better‌‌and‌‌safer‌‌user‌‌experience.‌‌ ‌

         37.       While‌ ‌H.B.‌ ‌20‌ ‌contains‌ ‌certain‌ ‌content‌ ‌exceptions‌ ‌chosen‌ ‌by‌ ‌the‌ ‌Texas‌‌

Legislature‌ ‌under‌‌Section‌‌143A.006,‌‌the‌‌state’s‌‌narrow‌‌choices‌‌mean‌‌that‌‌the‌‌broad‌‌restrictions‌‌

on‌‌content‌‌moderation‌‌would‌‌still‌‌eliminate‌‌wholesale‌‌many‌‌of‌‌the‌‌categories‌‌of‌‌content‌‌(in‌‌both‌‌

our‌‌Community‌‌Guidelines‌‌and‌‌Advertising‌‌policies)‌‌that‌‌YouTube‌‌has‌‌chosen‌‌to‌‌moderate.‌ ‌

         38.       YouTube‌‌currently‌‌has‌‌numerous‌‌viewpoint-based‌‌policies‌‌against‌‌many‌‌kinds‌‌of‌‌

harmful‌ ‌content,‌ ‌for‌ ‌which‌ ‌H.B.‌ ‌20‌ ‌has‌ ‌no‌ ‌applicable‌ ‌exception.‌ ‌For‌ ‌example,‌ ‌YouTube’s‌‌

Community‌ ‌Guidelines‌ ‌has‌ ‌a‌ ‌Violent‌ ‌Criminal‌ ‌Organizations‌ ‌policy‌13 ‌under‌ ‌which‌ ‌YouTube‌‌

currently‌ ‌removes‌ ‌content‌ ‌produced‌ ‌by‌ ‌violent‌ ‌criminal‌ ‌or‌ ‌terrorist‌ ‌organizations‌ ‌(“VCTOs”),‌‌

content‌ ‌praising‌ ‌or‌ ‌justifying‌ ‌violent‌ ‌acts‌ ‌carried‌ ‌out‌ ‌by‌ ‌VCTOs,‌ ‌content‌ ‌aimed‌ ‌at‌ ‌recruiting‌‌

members‌‌for‌‌VCTOs,‌‌or‌‌hostage‌‌videos.‌‌In‌‌order‌‌to‌‌comply‌‌with‌‌H.B.‌‌20,‌‌YouTube‌‌would‌‌have‌‌



         13
              ‌bit.ly/3m0tMVo.‌ ‌

                                                           15‌ ‌
to‌ ‌stop‌ ‌removing‌ ‌such‌ ‌violent‌ ‌extremist‌ ‌content.‌ ‌Similarly,‌ ‌paragraphs‌ ‌41-45‌ ‌below‌ ‌discuss‌‌

examples‌ ‌of‌ ‌additional‌ ‌categories‌ ‌ranging‌ ‌from‌ ‌dangerous‌‌pranks‌‌risking‌‌imminent‌‌harm,‌‌drug‌‌

use,‌‌suicide/self‌‌harm,‌‌animal‌‌abuse,‌‌and‌‌medical‌‌misinformation.‌‌ ‌

         39.       H.B.‌ ‌20‌ ‌seems‌ ‌to‌ ‌allow‌ ‌moderation‌ ‌of‌ ‌content‌ ‌that‌ ‌“directly‌ ‌incites‌ ‌criminal‌‌

activity‌ ‌or‌ ‌consists‌ ‌of‌ ‌specific‌ ‌threats‌ ‌of‌ ‌violence‌ ‌targeted‌ ‌against‌‌a‌‌person‌‌or‌‌group.”‌‌But‌‌this‌‌

limited‌‌exception‌‌actually‌‌excludes‌‌many‌‌categories‌‌found‌‌in‌‌YouTube’s‌‌Community‌‌Guidelines‌‌

hate‌‌speech‌‌policy.‌14 ‌143A.006(3).‌‌For‌‌example,‌‌YouTube‌‌removes‌‌content‌‌“promoting‌‌violence‌‌

or‌‌hatred‌‌against‌‌individuals‌‌or‌‌groups‌‌based‌‌on,”‌‌among‌‌other‌‌things,‌‌veterans‌‌status‌‌or‌‌sexual‌‌

orientation.‌ ‌H.B.‌ ‌20‌ ‌would‌ ‌stop‌ ‌YouTube‌ ‌from‌ ‌taking‌ ‌action‌ ‌against,‌ ‌for‌ ‌example,‌ ‌content‌‌

promoting‌ ‌violence‌ ‌or‌ ‌hatred‌ ‌against‌ ‌veterans.‌‌Even‌‌in‌‌the‌‌categories‌‌that‌‌H.B.‌‌20‌‌enumerates,‌‌

H.B.‌ ‌20‌ ‌would‌ ‌still‌ ‌bar‌ ‌YouTube‌ ‌from‌ ‌taking‌ ‌action‌ ‌against‌ ‌content‌ ‌“promoting‌ ‌violence‌ ‌or‌‌

hatred”‌‌without‌‌a‌‌specific‌‌threat‌‌of‌‌violence.‌‌ ‌

         40.       Reflecting‌ ‌our‌ ‌view‌ ‌of‌ ‌the‌ ‌nuance‌ ‌involved‌ ‌in‌ ‌balancing‌ ‌freedom‌ ‌of‌‌expression‌‌

and‌ ‌responsibility,‌ ‌YouTube‌ ‌has‌ ‌chosen‌ ‌to‌ ‌build‌ ‌systems‌ ‌and‌ ‌processes‌ ‌that‌ ‌apply‌ ‌different‌‌

standards‌ ‌for‌ ‌different‌ ‌content-moderation‌ ‌actions.‌ ‌For‌ ‌example,‌ ‌we‌ ‌apply‌ ‌the‌ ‌Community‌‌

Guidelines‌ ‌for‌ ‌removals,‌ ‌and‌ ‌the‌ ‌Ad-friendly‌ ‌Content‌ ‌Guidelines‌ ‌for‌ ‌demonetization.‌ ‌We‌ ‌also‌‌

age-restrict,‌ ‌reduce‌ ‌availability‌ ‌or‌ ‌functionality,‌ ‌or‌ ‌restrict‌ ‌other‌ ‌borderline‌ ‌content‌ ‌(which‌‌

otherwise‌ ‌remains‌ ‌available‌ ‌on‌ ‌our‌ ‌platform).‌ ‌By‌ ‌treating‌ ‌all‌ ‌these‌ ‌actions‌ ‌as‌ ‌prohibited‌‌

“censorship,”‌‌H.B.‌‌20‌‌will‌‌eliminate‌‌YouTube’s‌‌discretion‌‌to‌‌find‌‌the‌‌right‌‌balance‌‌between‌‌free‌‌

expression‌ ‌on‌ ‌YouTube‌ ‌and‌ ‌responsibility‌ ‌for‌ ‌fostering‌ ‌a‌ ‌safe‌ ‌community‌ ‌for‌ ‌its‌ ‌users.‌ ‌The‌‌




         14
              ‌https://support.google.com/youtube/answer/2801939?hl=en&ref_topic=9282436‌ ‌

                                                           16‌ ‌
following‌ ‌are‌ ‌examples‌ ‌showing‌ ‌the‌ ‌nuance‌ ‌and‌ ‌complexity‌ ‌of‌ ‌YouTube’s‌ ‌content‌‌moderation‌‌

policies‌‌applied‌‌in‌‌contexts‌‌where‌‌H.B.‌‌20‌‌would‌‌prohibit‌‌YouTube‌‌from‌‌taking‌‌action.‌‌ ‌

         41.        Dangerous‌‌Pranks‌.‌‌Under‌‌our‌‌Community‌‌Guidelines‌‌we‌‌remove‌‌videos‌‌depicting‌‌

extremely‌ ‌dangerous‌ ‌challenges‌ ‌that‌ ‌pose‌ ‌an‌ ‌imminent‌ ‌risk‌ ‌of‌ ‌physical‌ ‌injury,‌ ‌such‌ ‌as‌ ‌the‌‌

well-known‌ ‌“Tide‌ ‌Pod”‌ ‌challenge.‌ ‌Another‌ ‌example‌ ‌is‌ ‌the‌ ‌“No‌ ‌Lackin’”‌ ‌challenge,‌ ‌where‌‌

people‌ ‌post‌ ‌videos‌ ‌of‌‌themselves‌‌pointing‌‌guns‌‌at‌‌others.‌15 ‌Because‌‌YouTube‌‌is‌‌concerned‌‌that‌‌

minors‌‌could‌‌easily‌‌imitate‌‌such‌‌challenges,‌‌we‌‌may‌‌allow,‌‌but‌‌age-restrict,‌‌content‌‌that‌‌explains‌‌

these‌‌challenges‌‌in‌‌an‌‌educational‌‌or‌‌documentary‌‌way.‌‌However,‌‌YouTube‌‌may‌‌allow,‌‌without‌‌

restriction,‌ ‌a‌ ‌video‌ ‌warning‌ ‌minors‌ ‌against‌‌performing‌‌such‌‌challenges.‌‌H.B.‌‌20‌‌would‌‌require‌

YouTube‌‌to‌‌treat‌‌each‌‌of‌‌these‌‌examples‌‌of‌‌dangerous‌‌prank-related‌‌content‌‌equally‌‌and‌‌leave‌‌all‌‌

of‌‌them‌‌up‌‌on‌‌our‌‌platform.‌ ‌

         42.        Drug‌ ‌Use.‌ ‌Under‌‌our‌‌Community‌‌Guidelines,‌‌we‌‌remove‌‌videos‌‌with‌‌depictions‌‌

of‌ ‌the‌ ‌use‌‌of‌‌hard‌‌drugs‌‌(like‌‌intravenous‌‌heroin‌‌injection),‌‌and‌‌depictions‌‌of‌‌minors‌‌using‌‌‌any‌‌

alcohol‌ ‌or‌ ‌drugs‌ ‌(using‌ ‌vaporizers,‌ ‌e-cigarettes,‌ ‌tobacco,‌ ‌or‌ ‌marijuana).‌ ‌Still,‌ ‌we‌ ‌may‌ ‌allow‌‌

videos‌ ‌that‌ ‌discuss‌ ‌the‌ ‌scientific‌ ‌effects‌ ‌of‌ ‌drug‌ ‌use,‌ ‌content‌ ‌that‌ ‌does‌ ‌not‌ ‌promote‌ ‌or‌ ‌glorify‌‌

drug‌‌usage‌‌(e.g.,‌‌a‌‌personal‌‌story‌‌about‌‌the‌‌opioids‌‌crisis),‌‌or‌‌news‌‌reports‌‌about‌‌drug‌‌busts‌‌(with‌‌

no‌ ‌visible‌ ‌consumption‌ ‌or‌ ‌distribution).‌ ‌Such‌ ‌content,‌ ‌especially‌ ‌if‌ ‌it‌ ‌shows‌ ‌the‌ ‌injection‌ ‌of‌‌

drugs,‌‌may‌‌still‌‌be‌‌age-restricted.‌ ‌H.B.‌‌20‌‌would‌‌require‌‌YouTube‌‌to‌‌treat‌‌each‌‌of‌‌these‌‌different‌‌

examples‌‌of‌‌drug‌‌use-related‌‌content‌‌equally‌‌and‌‌leave‌‌all‌‌of‌‌them‌‌up‌‌on‌‌our‌‌platform.‌ ‌

         43.        Suicide‌.‌ ‌Our‌ ‌Community‌ ‌Guidelines‌ ‌prohibit‌ ‌(1)‌‌videos‌‌promoting‌‌or‌‌glorifying‌‌

suicide,‌‌(2)‌‌providing‌‌instructions‌‌on‌‌how‌‌to‌‌self-harm‌‌or‌‌die‌‌by‌‌suicide,‌‌and‌‌(3)‌‌graphic‌‌images‌‌


         15
              N
              ‌ ews‌‌articles‌‌report‌‌that‌‌this‌‌challenge‌‌was‌‌involved‌‌in‌‌one‌‌2019‌‌death‌‌in‌‌the‌‌Houston‌‌
area.‌h
      ‌ ttps://abc13.com/no-lackin-challenge-teen-shooting-killed-playing-with-guns/5009272/‌‌ ‌

                                                             17‌ ‌
of‌‌self-harm‌‌posted‌‌to‌‌shock‌‌or‌‌disgust‌‌viewers.‌‌Still,‌‌we‌‌may‌‌permit,‌‌without‌‌advertising,‌‌videos‌‌

with‌ ‌first-person‌ ‌accounts‌ ‌(e.g.,‌ ‌a‌ ‌biography‌ ‌or‌‌detailed‌‌interview‌‌on‌‌survivors‌‌and‌‌their‌‌pasts)‌‌

and‌ ‌detailed‌ ‌descriptions‌ ‌of‌ ‌suicide.‌‌Further,‌‌for‌‌searches‌‌for‌‌terms‌‌related‌‌to‌‌suicide,‌‌YouTube‌‌

shows‌‌authoritative‌‌content‌‌helping‌‌users‌‌connect‌‌with‌‌the‌‌National‌‌Suicide‌‌Prevention‌‌Hotline.‌ ‌

H.B.‌ ‌20‌ ‌would‌ ‌require‌ ‌YouTube‌ ‌to‌ ‌treat‌ ‌each‌ ‌of‌ ‌these‌ ‌different‌ ‌examples‌ ‌of‌ ‌suicide-related‌‌

content‌‌equally‌‌and‌‌leave‌‌all‌‌of‌‌them‌‌up‌‌on‌‌our‌‌platform.‌‌ ‌

        44.      Animals‌.‌ ‌Under‌ ‌our‌ ‌current‌ ‌Community‌ ‌Guidelines,‌ ‌we‌ ‌remove‌ ‌depiction‌ ‌of‌‌

content‌ ‌that‌ ‌includes‌ ‌a‌ ‌human‌ ‌maliciously‌ ‌causing‌‌an‌‌animal‌‌to‌‌experience‌‌suffering,‌‌or‌‌where‌‌

animals‌ ‌are‌ ‌encouraged‌ ‌or‌ ‌coerced‌ ‌to‌ ‌fight‌ ‌by‌ ‌humans.‌ ‌Under‌ ‌our‌ ‌Ad-Friendly‌ ‌Content‌‌

Guidelines,‌‌we‌‌demonetize,‌‌but‌‌allow,‌‌videos‌‌with‌‌graphic‌‌depictions‌‌of‌‌skinning‌‌or‌‌slaughtering‌‌

animals.‌ ‌We‌ ‌permit‌ ‌advertising‌ ‌on‌ ‌videos‌ ‌portraying‌ ‌animal‌ ‌preparation‌ ‌for‌ ‌eating‌ ‌by‌‌

professionals‌‌focusing‌‌on‌‌the‌‌trade‌‌and‌‌act‌‌of‌‌cutting‌‌animals,‌‌or‌‌the‌‌preparation‌‌of‌‌meat‌‌or‌‌fish‌‌

(such‌ ‌as‌ ‌BBQ‌ ‌cooking‌ ‌techniques).‌ ‌H.B.‌ ‌20‌ ‌would‌ ‌require‌ ‌YouTube‌ ‌to‌ ‌treat‌ ‌each‌ ‌of‌ ‌these‌‌

different‌‌examples‌‌of‌‌animal-related‌‌content‌‌equally‌‌and‌‌leave‌‌all‌‌of‌‌them‌‌up‌‌on‌‌our‌‌platform.‌ ‌

        45.      Medical‌ ‌Misinformation‌.‌ ‌YouTube‌ ‌does‌‌not‌‌allow‌‌certain‌‌types‌‌of‌‌misleading‌‌or‌‌

deceptive‌ ‌content‌ ‌with‌ ‌serious‌ ‌risk‌ ‌of‌ ‌egregious‌ ‌harm,‌ ‌like‌ ‌medical‌ ‌misinformation‌ ‌(such‌ ‌as‌‌

content‌ ‌claiming‌ ‌that‌ ‌harmful‌ ‌substances‌‌or‌‌treatments‌‌can‌‌have‌‌health‌‌benefits).‌‌This‌‌includes‌‌

content‌ ‌about‌ ‌COVID-19‌ ‌that‌ ‌poses‌ ‌a‌ ‌serious‌ ‌risk‌ ‌of‌ ‌egregious‌ ‌harm,‌ ‌such‌ ‌as‌ ‌treatment‌‌

misinformation.‌ ‌One‌ ‌example‌ ‌is‌ ‌content‌ ‌that‌ ‌promotes‌ ‌drinking‌ ‌“mineral‌ ‌miracle‌ ‌solution‌‌

(MMS)”‌ ‌as‌ ‌a‌ ‌treatment‌ ‌for‌ ‌COVID-19.‌ ‌The‌ ‌FDA‌ ‌has‌ ‌warned‌ ‌that‌ ‌“MMS‌ ‌Consumers‌ ‌Are‌‌

Drinking‌‌Bleach”‌‌since‌‌“when‌‌mixed‌‌according‌‌to‌‌package‌‌directions,‌‌[MMS‌‌products]‌‌become‌‌




                                                        18‌ ‌
a‌‌strong‌‌chemical‌‌that‌‌is‌‌used‌‌as‌‌bleach.”‌16 ‌H.B.‌‌20‌‌would‌‌bar‌‌YouTube‌‌from‌‌taking‌‌any‌‌content‌‌

moderation‌‌action‌‌against‌‌content‌‌expressing‌‌these‌‌viewpoints.‌ ‌

         46.       More‌ ‌generally,‌ ‌much‌ ‌of‌ ‌what‌ ‌YouTube‌ ‌does‌ ‌is‌ ‌to‌‌vary‌‌“access‌‌or‌‌visibility”‌‌to‌‌

certain‌ ‌pieces‌ ‌of‌ ‌content—or‌ ‌certain‌ ‌classes‌ ‌of‌ ‌content—according‌ ‌to‌ ‌subjective‌ ‌judgments‌‌

about‌ ‌the‌ ‌viewpoint‌ ‌expressed‌ ‌in‌ ‌the‌ ‌speech‌‌in‌‌accordance‌‌with‌‌its‌‌policies‌‌and‌‌what‌‌YouTube‌‌

believes‌‌will‌‌be‌‌most‌‌relevant‌‌to‌‌individual‌‌users.‌‌ ‌

         47.       Because‌ ‌H.B.‌ ‌20’s‌‌definition‌‌of‌‌“censor”‌‌includes‌‌“restrict”‌‌and‌‌“deboost,”‌‌H.B.‌‌

20‌ ‌would‌ ‌prohibit‌ ‌YouTube’s‌ ‌approach‌ ‌to‌ ‌borderline‌ ‌content–-content‌ ‌that,‌ ‌in‌ ‌our‌ ‌judgement,‌‌

comes‌ ‌close‌ ‌to‌ ‌violating‌ ‌our‌ ‌Community‌ ‌Guidelines.‌ ‌Rather‌ ‌than‌ ‌remove‌‌this‌‌content‌‌entirely,‌‌

YouTube‌ ‌currently‌ ‌takes‌ ‌steps‌ ‌to‌ ‌reduce‌ ‌the‌ ‌spread‌ ‌and‌ ‌restrict‌ ‌its‌ ‌availability‌ ‌(rather‌ ‌than‌‌

remove‌ ‌the‌ ‌content‌ ‌outright).‌ ‌In‌ ‌2019,‌ ‌we‌ ‌changed‌ ‌our‌ ‌recommendation‌ ‌system‌ ‌to‌ ‌reduce‌‌

suggesting‌‌such‌‌borderline‌‌content‌‌to‌‌users.‌‌ ‌

         48.         ‌YouTube‌ ‌has‌ ‌designed‌ ‌our‌ ‌search‌ ‌ranking‌ ‌systems‌ ‌and‌ ‌algorithms‌ ‌to‌ ‌prioritize‌‌

different‌ ‌factors‌ ‌depending‌ ‌on‌ ‌the‌ ‌search‌ ‌term‌ ‌requested.‌ ‌In‌ ‌areas‌ ‌such‌ ‌as‌ ‌music‌ ‌or‌‌

entertainment,‌ ‌we‌ ‌often‌ ‌use‌ ‌relevance,‌ ‌freshness,‌ ‌or‌ ‌popularity‌ ‌to‌ ‌rank‌ ‌search‌ ‌results.‌ ‌In‌‌other‌‌

areas‌ ‌where‌ ‌veracity‌ ‌and‌ ‌credibility‌ ‌are‌ ‌key,‌‌including‌‌news,‌‌politics,‌‌and‌‌medical‌‌or‌‌scientific‌‌

information,‌ ‌our‌ ‌search‌ ‌systems‌ ‌prioritize‌ ‌surfacing‌ ‌authoritative‌ ‌content‌ ‌from‌‌trusted‌‌sources.‌‌

For‌ ‌example,‌ ‌when‌ ‌you‌ ‌proactively‌ ‌search‌ ‌for‌ ‌news-related‌ ‌topics,‌ ‌a‌ ‌Top‌ ‌News‌ ‌section‌ ‌will‌‌

appear‌ ‌near‌ ‌the‌ ‌top‌ ‌of‌ ‌search‌ ‌results,‌ ‌which‌ ‌raises‌ ‌relevant‌ ‌results‌ ‌from‌ ‌authoritative‌ ‌voices‌‌

including‌‌news‌‌sources‌‌like‌‌CNN‌‌and‌‌Fox‌‌News.‌‌ ‌




         16
              ‌https://bit.ly/3kNf8BF.‌ ‌

                                                           19‌ ‌
         49.      So‌ ‌H.B.‌ ‌20‌ ‌will‌ ‌forbid‌ ‌YouTube‌‌from‌‌making‌‌both‌‌‌individualized‌‌decisions‌‌that‌‌

perhaps‌‌one‌‌user‌‌will‌‌prefer‌‌certain‌‌content‌‌relative‌‌to‌‌other‌‌content‌‌because‌‌of‌‌the‌‌“viewpoints”‌‌

expressed‌ ‌in‌ ‌that‌ ‌content;‌ ‌and‌ ‌broad‌ ‌decisions‌ ‌that‌ ‌certain‌ ‌content‌ ‌should‌ ‌be‌ ‌emphasized‌ ‌or‌‌

deemphasized‌‌across‌‌all‌‌users.‌‌ ‌

         50.      H.B.‌ ‌20’s‌ ‌definition‌ ‌of‌ ‌censorship‌ ‌includes‌ ‌action‌ ‌to‌ ‌“demonetize”‌ ‌based‌ ‌on‌‌

viewpoint.‌‌Currently,‌‌YouTube‌‌requires‌‌that‌‌users‌‌wishing‌‌to‌‌monetize‌‌their‌‌content‌‌comply‌‌with‌‌

Community‌ ‌Guidelines,‌ ‌but‌ ‌also‌ ‌an‌ ‌additional‌ ‌set‌ ‌of‌ ‌viewpoint-based‌ ‌guidelines,‌ ‌the‌‌

Advertiser-friendly‌ ‌Content‌ ‌Guidelines.‌ ‌H.B.‌ ‌20‌ ‌would‌ ‌bar‌ ‌YouTube‌ ‌from‌ ‌enforcing‌ ‌these‌‌

guidelines,‌‌and‌‌prevent‌‌YouTube‌‌from‌‌demonetizing‌‌harmful/offensive‌‌content.‌‌YouTube‌‌would‌‌

be‌ ‌forced‌ ‌to‌ ‌continue‌ ‌to‌ ‌let‌ ‌a‌ ‌harmful‌ ‌content‌ ‌creator‌ ‌earn‌ ‌advertising‌ ‌revenue‌ ‌off‌ ‌YouTube’s‌‌

platform‌ ‌and‌ ‌thus‌ ‌encourage‌ ‌that‌ ‌creator‌ ‌to‌ ‌upload‌ ‌as‌ ‌much‌ ‌harmful‌ ‌and‌ ‌offensive‌ ‌content‌ ‌as‌‌

quickly‌‌as‌‌possible.‌ ‌

         51.      Finally,‌ ‌H.B.‌ ‌20‌ ‌prohibits‌ ‌YouTube‌ ‌from‌ ‌engaging‌ ‌in‌ ‌its‌ ‌own‌ ‌speech‌ ‌because‌‌it‌‌

prohibits‌ ‌YouTube‌ ‌from‌ ‌“otherwise‌ ‌discriminat[ing]”‌ ‌against‌ ‌user-submitted‌ ‌expression.‌ ‌This‌‌

provision—as‌ ‌vague‌ ‌and‌ ‌broad‌ ‌as‌ ‌it‌‌is—encompasses‌‌situations‌‌in‌‌which‌‌YouTube‌‌appends‌‌its‌‌

own‌‌expression‌‌to‌‌user-submitted‌‌content,‌‌whether‌‌to‌‌express‌‌disagreement‌‌with‌‌or‌‌disapproval‌‌

of‌ ‌that‌ ‌expression,‌ ‌or‌ ‌to‌ ‌add‌ ‌context‌ ‌YouTube‌ ‌believes‌ ‌is‌ ‌necessary‌‌for‌‌certain‌‌topics‌‌prone‌‌to‌‌

misinformation.‌ ‌For‌ ‌certain‌ ‌content‌ ‌(e.g.,‌ ‌potential‌ ‌hate‌ ‌speech)‌ ‌that‌ ‌is‌ ‌both‌ ‌close‌ ‌to‌ ‌the‌‌

Community‌ ‌Guidelines‌ ‌line‌ ‌for‌ ‌removal‌ ‌and‌ ‌is‌ ‌offensive‌ ‌to‌ ‌viewers,‌ ‌YouTube‌ ‌adds‌‌a‌‌warning‌‌

message‌ ‌before‌ ‌viewers‌ ‌can‌ ‌watch‌ ‌the‌ ‌video.‌ ‌Because‌ ‌YouTube‌ ‌will‌ ‌only‌ ‌append‌ ‌its‌ ‌own‌‌

expression‌ ‌based‌ ‌on‌ ‌the‌ ‌“viewpoint”‌‌expressed‌‌in‌‌the‌‌content,‌‌that‌‌would‌‌constitute‌‌censorship‌‌

under‌ ‌H.B.‌ ‌20.‌ ‌Similarly,‌ ‌YouTube‌ ‌displays‌ ‌a‌ ‌variety‌ ‌of‌ ‌information‌ ‌panels‌ ‌that‌ ‌provide‌‌users‌‌




                                                          20‌ ‌
with‌ ‌context‌‌on‌‌content‌‌relating‌‌to‌‌topics‌‌and‌‌news‌‌prone‌‌to‌‌misinformation,‌‌as‌‌well‌‌as‌‌context‌‌

about‌‌the‌‌publishers‌‌of‌‌the‌‌content.‌‌ ‌

          52.        Therefore,‌ ‌YouTube‌ ‌will‌ ‌face‌ ‌an‌ ‌impossible‌ ‌choice‌ ‌between‌ ‌(1)‌‌risking‌‌liability‌‌

by‌‌moderating‌‌content‌‌identified‌‌to‌‌violate‌‌its‌‌standards‌‌or‌‌(2)‌‌subjecting‌‌YouTube’s‌‌community‌‌

to‌‌harm‌‌by‌‌allowing‌‌violative‌‌content‌‌to‌‌remain‌‌on‌‌the‌‌site.‌ ‌

Other‌‌Impact‌‌ ‌

          53.        Age‌ ‌Gating,‌‌Restricted‌‌Mode,‌‌and‌‌YouTube‌‌Kids.‌‌‌YouTube‌‌provides‌‌features,‌‌

tools,‌‌and‌‌age-gated‌‌offerings‌‌to‌‌sensitive‌‌users‌‌and‌‌organizations‌‌(such‌‌as‌‌libraries‌‌and‌‌families‌‌

with‌ ‌young‌ ‌children).‌ ‌These‌ ‌features‌ ‌are‌ ‌a‌ ‌way‌ ‌for‌ ‌YouTube‌ ‌to‌ ‌balance‌ ‌free‌ ‌expression‌ ‌with‌‌

responsibility.‌‌For‌‌example,‌‌YouTube‌‌uses‌‌age-gating,‌‌a‌‌process‌‌whereby‌‌certain‌‌content—such‌‌

as‌ ‌material‌ ‌featuring‌ ‌sexual‌ ‌situations,‌ ‌heavy‌ ‌profanity,‌ ‌or‌ ‌graphic‌ ‌depictions‌ ‌of‌ ‌violence—is‌‌

made‌‌inaccessible‌‌to‌‌users‌‌under‌‌age‌‌18.‌‌In‌‌order‌‌to‌‌view‌‌this‌‌content,‌‌users‌‌coming‌‌to‌‌YouTube‌‌

must‌‌be‌‌signed-in‌‌and‌‌the‌‌age‌‌associated‌‌with‌‌their‌‌account‌‌must‌‌be‌‌18‌‌or‌‌older‌‌in‌‌order‌‌to‌‌view‌‌

the‌ ‌video.‌ ‌YouTube‌ ‌also‌‌has‌‌a‌‌feature‌‌called‌‌Restricted‌‌Mode,‌‌an‌‌optional‌‌setting‌‌that‌‌sensitive‌‌

users‌ ‌can‌ ‌choose‌ ‌to‌ ‌use‌ ‌to‌ ‌limit‌ ‌the‌ ‌content‌ ‌they‌ ‌see‌ ‌on‌ ‌YouTube.‌ ‌It‌ ‌is‌ ‌also‌ ‌used‌ ‌by‌‌libraries,‌‌

schools,‌‌and‌‌public‌‌institutions.‌‌Videos‌‌containing‌‌potentially‌‌adult‌‌content‌‌like‌‌drugs‌‌or‌‌alcohol‌‌
                                                                                                            17
use,‌ ‌sexual‌ ‌situations,‌ ‌or‌ ‌violence‌ ‌are‌ ‌not‌ ‌shown‌ ‌to‌ ‌users‌ ‌in‌ ‌Restricted‌ ‌Mode.‌ ‌YouTube‌ ‌also‌‌

produces‌ ‌an‌ ‌app‌ ‌called‌ ‌YouTube‌ ‌Kids,‌ ‌which‌ ‌includes‌ ‌only‌ ‌videos‌ ‌that‌ ‌are‌ ‌determined‌ ‌to‌ ‌be‌‌

suitable‌‌for‌‌children‌‌through‌‌a‌‌combination‌‌of‌‌human‌‌and‌‌algorithmic‌‌review,‌‌and‌‌which‌‌blocks‌‌

access‌‌to‌‌comments‌‌more‌‌suitable‌‌for‌‌adults.‌‌For‌‌example,‌‌YouTube‌‌Kids‌‌does‌‌not‌‌show‌‌videos‌‌




          17
               ‌https://bit.ly/3jiTWl1‌.‌ ‌

                                                               21‌ ‌
with‌ ‌paid‌ ‌product‌ ‌placements‌ ‌or‌ ‌endorsements,‌ ‌nor‌ ‌overly‌ ‌commercial‌ ‌or‌ ‌promotional‌ ‌videos.‌‌

Over‌‌35‌‌million‌‌weekly‌‌viewers‌‌in‌‌more‌‌than‌‌100‌‌countries‌‌use‌‌YouTube‌‌Kids.‌ ‌

         54.       H.B.‌ ‌20’s‌ ‌prohibition‌ ‌on‌ ‌“censorship”‌ ‌includes‌‌“restricting”‌‌content.‌‌Complying‌‌

with‌ ‌that‌ ‌requirement‌ ‌would‌ ‌force‌ ‌Restricted‌ ‌Mode‌ ‌and‌ ‌YouTube‌ ‌Kids‌ ‌to‌ ‌display‌ ‌all‌ ‌content,‌‌

even‌ ‌if‌ ‌that‌ ‌content‌ ‌would‌ ‌otherwise‌ ‌be‌ ‌violative‌ ‌of‌ ‌YouTube’s‌ ‌policies,‌ ‌or‌ ‌is‌ ‌content‌ ‌that‌‌

YouTube‌ ‌(and‌ ‌a‌ ‌reasonable‌ ‌user‌ ‌would)‌ ‌believe‌ ‌in‌ ‌its‌ ‌judgment‌ ‌to‌ ‌be‌ ‌inappropriate‌ ‌for‌ ‌those‌‌

audiences.‌‌Similarly,‌‌YouTube‌‌would‌‌have‌‌to‌‌stop‌‌age-gating‌‌such‌‌content.‌‌These‌‌changes‌‌would‌‌

contradict‌‌the‌‌purpose‌‌of‌‌these‌‌features‌‌and‌‌products‌‌to‌‌give‌‌parents‌‌options‌‌for‌‌increased‌‌safety,‌‌

forcing‌ ‌YouTube‌ ‌to‌ ‌make‌ ‌age-inappropriate‌ ‌content‌ ‌available‌‌to‌‌minors‌‌generally,‌‌and‌‌to‌‌other‌‌

users‌‌choosing‌‌to‌‌use‌‌Restricted‌‌Mode.‌‌ ‌

         55.       Disclosure‌ ‌and‌ ‌Notice‌ ‌Requirements.‌ ‌The‌ ‌“disclosure”‌ ‌and‌ ‌operational‌‌

restrictions‌ ‌will‌ ‌likewise‌ ‌burden‌ ‌YouTube’s‌ ‌discretion‌ ‌in‌ ‌designing‌ ‌its‌ ‌content-moderation‌‌

systems‌ ‌and‌ ‌processes.‌ ‌While‌ ‌YouTube‌‌endeavors‌‌to‌‌be‌‌transparent‌‌with‌‌its‌‌users‌‌and‌‌creators,‌‌

this‌ ‌law‌ ‌would‌ ‌impose‌ ‌ambiguous‌ ‌and‌ ‌wide-ranging‌ ‌transparency‌ ‌requirements‌ ‌on‌ ‌all‌ ‌of‌‌

YouTube’s‌ ‌decisions‌ ‌to‌ ‌remove‌ ‌content‌ ‌of‌ ‌any‌ ‌kind.‌ ‌For‌ ‌example,‌ ‌these‌ ‌transparency‌‌

requirements‌ ‌would‌ ‌apply‌ ‌to‌‌all‌‌types‌‌of‌‌content–not‌‌just‌‌videos–on‌‌YouTube.‌‌When‌‌removing‌‌

videos‌ ‌under‌ ‌the‌ ‌Community‌ ‌Guidelines,‌ ‌YouTube‌ ‌generally‌ ‌provides‌ ‌users‌ ‌with‌ ‌notice,‌ ‌a‌‌

complaint‌ ‌system,‌ ‌and‌ ‌an‌ ‌ability‌ ‌to‌ ‌appeal–but‌ ‌it‌ ‌does‌ ‌not‌ ‌currently‌ ‌provide‌ ‌any‌ ‌of‌ ‌this‌ ‌when‌‌

removing‌‌comments.‌‌ ‌

         56.       To‌‌comply‌‌with‌‌H.B.‌‌20,‌‌YouTube‌‌would‌‌have‌‌to‌‌expand‌‌these‌‌systems’‌‌capacity‌‌

by‌ ‌over‌ ‌100X–from‌ ‌a‌ ‌volume‌‌handling‌‌millions‌‌of‌‌removals‌‌to‌‌that‌‌of‌‌over‌‌a‌‌billion‌‌removals:‌‌

during‌ ‌the‌ ‌last‌ ‌quarter‌ ‌(Q2‌ ‌2021),‌ ‌YouTube‌ ‌removed‌ ‌9.5‌ ‌million‌ ‌videos‌ ‌and‌ ‌well‌ ‌over‌ ‌1.16‌‌




                                                           22‌ ‌
billion‌‌comments.‌‌YouTube‌‌would‌‌have‌‌to‌‌provide‌‌notice‌‌of‌‌each‌‌of‌‌these‌‌1.16‌‌billion‌‌decisions‌‌

to‌ ‌remove‌ ‌a‌ ‌comment.‌ ‌When‌ ‌any‌ ‌users‌ ‌receiving‌ ‌notice‌ ‌complain‌ ‌about,‌‌or‌‌appeal,‌‌those‌‌1.16‌‌

billion‌ ‌removal‌ ‌decisions,‌ ‌YouTube‌ ‌will‌ ‌have‌ ‌to‌ ‌handle‌ ‌those‌ ‌requests‌ ‌within‌ ‌an‌ ‌accelerated‌‌

response‌‌period.‌‌ ‌

         57.      Though‌ ‌YouTube‌ ‌endeavors‌ ‌to‌ ‌be‌ ‌transparent‌ ‌about‌ ‌its‌ ‌Terms‌ ‌of‌ ‌Service,‌‌

Community‌ ‌Guidelines,‌ ‌and‌ ‌other‌ ‌content‌ ‌moderation‌ ‌practices‌ ‌generally,‌ ‌H.B.‌ ‌20‌ ‌does‌ ‌not‌

explain‌ ‌the‌ ‌level‌ ‌of‌ ‌“specific‌ ‌information”‌ ‌required‌ ‌by‌ ‌the‌ ‌public‌ ‌disclosures‌ ‌section.‌ ‌For‌

example,‌ ‌it‌ ‌seeks‌ ‌public‌ ‌disclosure‌ ‌of‌ ‌“search,‌ ‌ranking,‌ ‌or‌ ‌other‌ ‌algorithms‌ ‌or‌ ‌procedures.”‌

Public‌ ‌disclosure‌ ‌of‌ ‌that‌ ‌aspect‌ ‌(and‌ ‌others)‌ ‌of‌ ‌YouTube’s‌ ‌content‌ ‌moderation‌ ‌would‌ ‌risk‌‌

revealing‌ ‌its‌ ‌trade‌ ‌secrets‌ ‌and‌ ‌other‌ ‌confidential‌ ‌intellectual‌ ‌property‌ ‌to‌‌our‌‌competitors,‌‌since‌‌

YouTube‌ ‌relies‌ ‌on‌ ‌sophisticated‌ ‌proprietary‌ ‌software‌ ‌systems,‌ ‌including‌ ‌machine‌ ‌learning‌‌

algorithms,‌‌in‌‌which‌‌YouTube‌‌has‌‌invested‌‌significant‌‌resources‌‌to‌‌build‌‌and‌‌develop.‌‌Moreover,‌‌

detailed‌ ‌disclosure‌ ‌of‌ ‌technical‌‌details‌‌of‌‌our‌‌enforcement‌‌methods‌‌would‌‌risk‌‌empowering‌‌the‌‌

unscrupulous‌ ‌users‌ ‌seeking‌ ‌gaps‌ ‌and‌ ‌weaknesses‌ ‌in‌ ‌our‌‌systems‌‌for‌‌exploitation‌‌and‌‌to‌‌evolve‌‌

their‌ ‌tactics‌ ‌to‌ ‌evade‌ ‌our‌ ‌efforts.‌ ‌For‌ ‌these‌ ‌reasons,‌ ‌YouTube‌ ‌does‌ ‌not‌ ‌publicly‌ ‌disclose‌ ‌these‌‌

kinds‌‌of‌‌technical‌‌details.‌‌ ‌

         58.      H.B.‌ ‌20‌ ‌requires‌ ‌a‌ ‌biannual‌ ‌transparency‌ ‌report‌ ‌calling‌ ‌for‌ ‌expansive‌ ‌though‌‌

ambiguous‌ ‌disclosure‌ ‌including,‌ ‌for‌ ‌example,‌ ‌whenever‌ ‌YouTube‌ ‌took‌ ‌action‌ ‌including‌ ‌“any‌

other‌ ‌action‌ ‌taken‌ ‌in‌ ‌accordance‌ ‌with‌ ‌the‌ ‌platform’s‌ ‌acceptable‌ ‌use‌‌policy,”‌‌including‌‌detailed‌‌

breakdowns‌ ‌by‌ ‌rule‌ ‌violated‌ ‌and‌ ‌source‌ ‌of‌ ‌alert.‌ ‌At‌‌the‌‌immense‌‌scale‌‌that‌‌YouTube‌‌operates,‌‌

this‌ ‌level‌ ‌of‌ ‌granular‌ ‌reporting‌ ‌of‌ ‌every‌ ‌content-moderation‌ ‌decision‌ ‌would‌ ‌be‌ ‌extremely‌‌

burdensome.‌‌ ‌




                                                           23‌ ‌
         59.       The‌ ‌specter‌ ‌of‌ ‌liability‌ ‌from‌ ‌countless‌ ‌private‌ ‌lawsuits‌ ‌(only‌ ‌for‌ ‌the‌‌

anti-editorial-discretion‌‌provisions)‌‌and‌‌Attorney‌‌General‌‌enforcement‌‌(for‌‌all‌‌of‌‌the‌‌provisions)‌‌

will‌‌substantially‌‌chill‌‌YouTube’s‌‌use‌‌of‌‌editorial‌‌discretion‌‌to‌‌moderate‌‌content.‌‌ ‌

         60.       User‌ ‌Scope.‌ ‌H.B.‌ ‌20‌ ‌prohibits‌‌“censoring”‌‌a‌‌Texas‌‌“user’s‌‌ability‌‌to‌‌receive‌‌the‌‌

expression‌ ‌of‌ ‌another‌‌person,”‌‌and‌‌that‌‌“person”‌‌need‌‌not‌‌be‌‌in‌‌Texas.‌‌YouTube‌‌has‌‌no‌‌way‌‌to‌‌

comply‌ ‌without‌ ‌altering‌ ‌its‌ ‌editorial‌ ‌policies‌ ‌platform-wide,‌ ‌because‌ ‌YouTube’s‌ ‌Community‌‌

Guidelines‌ ‌are‌ ‌enforced‌ ‌consistently‌ ‌across‌ ‌the‌ ‌globe,‌ ‌regardless‌ ‌of‌ ‌where‌ ‌the‌ ‌content‌ ‌is‌‌

uploaded.‌ ‌When‌ ‌content‌ ‌is‌ ‌removed‌ ‌for‌ ‌violating‌ ‌YouTube’s‌ ‌Community‌ ‌Guidelines,‌ ‌it‌ ‌is‌‌

removed‌‌globally.‌‌ ‌

         61.       Harm‌ ‌to‌ ‌YouTube.‌ ‌To‌ ‌comply‌ ‌with‌ ‌this‌‌law,‌‌YouTube‌‌would‌‌have‌‌to‌‌eliminate‌‌

many,‌ ‌if‌ ‌not‌ ‌most,‌ ‌of‌ ‌our‌ ‌content-moderation‌ ‌standards‌ ‌that‌ ‌currently‌ ‌apply‌ ‌to‌ ‌any‌ ‌video‌ ‌and‌‌

comment‌ ‌posted‌ ‌platform-wide.‌ ‌Users‌ ‌will‌ ‌leave‌ ‌YouTube‌ ‌for‌ ‌platforms‌ ‌that‌ ‌are‌ ‌able‌ ‌to‌‌

responsibly‌‌moderate‌‌their‌‌platforms.‌‌Controversial‌‌content‌‌generally‌‌does‌‌not‌‌perform‌‌well‌‌with‌‌

users‌‌on‌‌YouTube‌‌(compared‌‌to‌‌other‌‌categories‌‌like‌‌music‌‌or‌‌comedy).‌‌Advertisers‌‌do‌‌not‌‌want‌‌

their‌ ‌brands‌ ‌associated‌ ‌with‌ ‌problematic‌ ‌content‌ ‌and‌ ‌actors.‌ ‌We’ve‌ ‌seen‌ ‌first-hand‌ ‌that‌ ‌when‌‌

advertisers‌ ‌lack‌ ‌trust‌ ‌in‌ ‌our‌ ‌systems,‌ ‌they‌ ‌scale‌ ‌back‌ ‌their‌ ‌spend‌ ‌on‌ ‌YouTube.‌ ‌In‌ ‌response‌ ‌to‌‌

several‌ ‌prior‌ ‌incidents‌ ‌involving‌ ‌extremist,‌ ‌child‌ ‌exploitation,‌ ‌and‌ ‌other‌ ‌harmful‌ ‌content,‌‌

advertisers‌ ‌(who‌ ‌do‌ ‌not‌ ‌want‌ ‌their‌ ‌advertisements‌ ‌next‌ ‌to‌ ‌objectionable‌ ‌content)‌‌have‌‌stopped‌‌

advertising‌ ‌on‌ ‌YouTube.‌‌Loss‌‌of‌‌advertiser‌‌trust‌‌negatively‌‌impacts‌‌creator‌‌earnings‌‌(since‌‌that‌‌

revenue‌‌is‌‌dependent‌‌upon‌‌the‌‌willingness‌‌of‌‌advertisers‌‌to‌‌associate‌‌their‌‌brands‌‌with‌‌YouTube‌‌

content),‌ ‌causing‌ ‌creators,‌ ‌too,‌ ‌to‌ ‌seek‌ ‌alternative‌ ‌platforms.‌ ‌The‌ ‌cost‌ ‌of‌ ‌not‌ ‌taking‌ ‌sufficient‌‌

action‌ ‌over‌ ‌the‌ ‌long‌ ‌term‌ ‌results‌ ‌in‌ ‌lack‌ ‌of‌ ‌trust‌‌from‌‌our‌‌users,‌‌advertisers,‌‌and‌‌creators.‌‌Past‌‌




                                                            24‌ ‌
egregious‌ ‌actions‌ ‌of‌ ‌just‌ ‌a‌ ‌handful‌ ‌of‌ ‌creators‌ ‌have‌‌harmed‌‌the‌‌reputation‌‌of‌‌YouTube‌‌and‌‌the‌‌

creator‌ ‌community‌ ‌among‌ ‌advertisers,‌ ‌the‌ ‌media‌ ‌industry‌ ‌and‌ ‌most‌ ‌importantly,‌ ‌the‌ ‌general‌‌

public.‌ ‌When‌ ‌just‌ ‌one‌ ‌creator‌ ‌does‌ ‌something‌ ‌particularly‌ ‌blatant—like‌ ‌conducts‌ ‌a‌ ‌heinous‌‌

prank‌ ‌where‌ ‌people‌ ‌are‌ ‌traumatized,‌ ‌promotes‌ ‌violence‌ ‌or‌ ‌hate‌ ‌toward‌ ‌a‌ ‌group,‌ ‌demonstrates‌‌

cruelty,‌‌or‌‌sensationalizes‌‌the‌‌pain‌‌of‌‌others‌‌in‌‌an‌‌attempt‌‌to‌‌gain‌‌views‌‌or‌‌subscribers—we‌‌have‌‌

seen‌ ‌how‌ ‌it‌ ‌can‌ ‌cause‌ ‌lasting‌ ‌damage‌ ‌to‌ ‌the‌ ‌community,‌ ‌including‌ ‌viewers,‌ ‌creators‌ ‌and‌ ‌the‌‌

outside‌‌world.‌‌ ‌

         62.       This‌‌harm‌‌is‌‌why‌‌responsibility‌‌is‌‌critical‌‌to‌‌YouTube’s‌‌success,‌‌and‌‌is‌‌our‌‌

number‌‌one‌‌priority.‌‌YouTube‌‌has‌‌responded‌‌to‌‌these‌‌past‌‌incidents‌‌by‌‌updating‌‌the‌‌way‌‌we‌‌

moderate‌‌content‌‌with‌‌stricter‌‌policies,‌‌better‌‌controls,‌‌and‌‌greater‌‌transparency.‌‌We’ve‌‌made‌‌

much‌‌progress‌‌to‌‌earn‌‌trust,‌‌recognizing‌‌more‌‌can‌‌and‌‌should‌‌be‌‌done.‌‌Yet‌‌H.B.‌‌20‌‌would‌‌

unilaterally‌‌replace‌‌much‌‌of‌‌this‌‌entire‌‌framework‌‌to‌‌content‌‌moderation‌‌and‌‌runs‌‌contrary‌‌to‌‌

user‌‌safety‌‌and‌‌enjoyment‌‌of‌‌the‌‌user‌‌experience.‌‌ ‌

         I‌ ‌declare‌ ‌under‌ ‌penalty‌ ‌of‌ ‌perjury‌ ‌under‌ ‌the‌ ‌laws‌ ‌of‌ ‌the‌ ‌United‌ ‌States‌ ‌of‌ ‌America,‌‌

pursuant‌ ‌to‌ ‌28‌ ‌U.S.C.‌ ‌§‌ ‌1746,‌ ‌that‌ ‌the‌ ‌foregoing‌ ‌to‌ ‌be‌ ‌true‌ ‌and‌ ‌correct‌ ‌to‌ ‌the‌ ‌best‌ ‌of‌ ‌my‌‌

knowledge.‌‌Executed‌‌on‌‌this‌‌September‌‌30,‌‌2021‌‌in‌‌Washington,‌‌DC.‌ ‌


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                            ________________________‌ ‌

                            Alexandra‌‌N.‌‌Veitch‌ ‌




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